        Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 1 of 31




                          IN THE UNITED
                          IN THE        STATES DISTRICT
                                 UNITED STATES DISTRICT COURT
                                                        COURT
                              FOR THE
                              FOR THE DISTRICT
                                      DISTRICT OF
                                               OF COLUMBIA
                                                  COLUMBIA

                                                         ))
PETER P.
PETER P. STRZOK,
         STRZOK,                                         ))
                                                         ))
                 Plaintiff,
                 Plaintiff,                              ))
                                                        ))    Case No.
                                                              Case No. 1:19-cv-2367
                                                                       1:19-cv-2367 (ABJ)
                                                                                    (ABJ)
         v.
         v.                                              ))
                                                         ))
ATTORNEY GENERAL
ATTORNEY        GENERAL MERRICK
                             MERRICK B.   B.             ))
GARLAND, in
GARLAND,          his official
               in his official capacity, et al.,
                               capacity, et al.,         ))
                                                         ))
                 Defendants.
                 Defendants.                             ))
                                                         ))
                                                         ))
                                                         ))
LISA   PAGE,
LISA PAGE,                                               ))
                                                         ))
                 Plaintiff,
                 Plaintiff,                              ))
                                                         ))   Case No.
                                                              Case No. 1:19-cv-3675
                                                                       1:19-cv-3675 (TSC)
                                                                                    (TSC)
         v.
         v.                                              ))
                                                         ))
U.S. DEPARTMENT
U.S.  DEPARTMENT OF      OF JUSTICE,
                             JUSTICE, et et al.,
                                            al.,         ))
                                                         ))
                 Defendants.
                 Defendants.                             ))
                                                         ))
                                                         ))
ATTORNEY GENERAL
ATTORNEY        GENERAL MERRICK
                             MERRICK                     ))
GARLAND, in
GARLAND,          his official
               in his official capacity, UNITED
                               capacity, UNITED          ))
STATES      DEPARTMENT OF
STATES DEPARTMENT              OF JUSTICE,
                                  JUSTICE, FBI FBI       ))
DIRECTOR CHRISTOPHER
DIRECTOR       CHRISTOPHER A.     A. WRAY,
                                     WRAY, in    in his
                                                    his ))
official capacity,
official capacity, FEDERAL
                   FEDERAL BUREAUBUREAU OF   OF          ))
INVESTIGATION,
INVESTIGATION,                                           ))
                                                         ))
                 Movants,
                 Movants,                                ))   Case No.
                                                              Case No. 1:22-mc-27
                                                                       1:22-mc-27 (ABJ)
                                                                                  (ABJ)
                                                         ))
v.
v.                                                       ))
                                                         ))
PETER P.
PETER     P. STRZOK
             STRZOK                                      ))
                                                         ))
IN  RE SUBPOENA
IN RE   SUBPOENA SERVEDSERVED ON  ON                     ))
DONALD J.
DONALD         TRUMP
             J TRUMP                                     ))
                                                         ))
       Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 2 of 31




DECLARATION OF
DECLARATION OF CHRISTOPHER  R. MACCOLL
               CHRISTOPHER R.          IN SUPPORT
                               MACCOLL IN SUPPORT OF
                                                  OF MOTION
                                                     MOTION FOR
                                                            FOR
     CLARIFICATION OF THE
     CLARIFICATION OF  THE ORDER
                           ORDER REGARDING
                                 REGARDING DEPOSITIONS
                                            DEPOSITIONS OF
                                                        OF
           DONALD J.
           DONALD J. TRUMP  AND CHRISTOPHER
                     TRUMP AND  CHRISTOPHER A.
                                             A. WRAY
                                                WRAY

I, Christopher R.
I, Christopher R. MacColl,
                  MacColl, hereby
                           hereby declare:
                                  declare:

       1.
       1.      II am
                  am an
                     an associate
                        associate with
                                  with Zuckerman
                                       Zuckerman Spaeder
                                                 Spaeder LLP.
                                                         LLP. II have
                                                                 have appeared
                                                                      appeared in
                                                                               in this
                                                                                  this matter
                                                                                       matter as
                                                                                              as

an attorney
an attorney for
            for Peter
                Peter Strzok.
                      Strzok.

       2.
       2.      Attached as
               Attached as Exhibit A is
                           Exhibit A is aa true
                                           true and
                                                and correct
                                                    correct copy
                                                            copy of
                                                                 of an
                                                                    an email
                                                                       email chain
                                                                             chain between
                                                                                   between myself
                                                                                           myself

and attorneys
and attorneys who
              who have
                  have appeared
                       appeared for Defendants in
                                for Defendants    this action,
                                               in this action, beginning
                                                               beginning March
                                                                         March 27,
                                                                               27, 2023
                                                                                   2023 and
                                                                                        and

ending May
ending May 12,
           12, 2023.
               2023.

       3.
       3.      Attached as
               Attached as Exhibit B is
                           Exhibit B is aa true
                                           true and
                                                and correct
                                                    correct copy
                                                            copy of
                                                                 of an
                                                                    an email
                                                                       email chain between myself
                                                                             chain between myself

and attorneys
and attorneys for
              for former President Trump,
                  former President        beginning March
                                   Trump, beginning March 31, 2023 and
                                                          31, 2023 and ending
                                                                       ending May
                                                                              May 10,
                                                                                  10, 2023.
                                                                                      2023.

       4.
       4.      Attached as
               Attached as Exhibit C is
                           Exhibit C is aa true
                                           true and
                                                and correct
                                                    correct copy of two
                                                            copy of two documents
                                                                        documents produced
                                                                                  produced in
                                                                                           in

this action
this action by
            by General
               General John F. Kelly
                       John F. Kelly and
                                     and an
                                         an associated
                                            associated cover
                                                       cover letter, dated April
                                                             letter, dated April 12,
                                                                                 12, 2023.
                                                                                     2023.

       5.
       5.      Certain direct
               Certain direct and
                              and mobile
                                  mobile phone
                                         phone numbers are redacted
                                               numbers are redacted from the exhibits.
                                                                    from the exhibits.

II declare
   declare under
           under penalty
                 penalty of
                         of perjury
                            perjury that
                                    that the
                                         the foregoing
                                             foregoing is true and
                                                       is true and correct.
                                                                   correct.


Executed on: May
Executed on: May 15,
                  15, 2023
                      2023                             /s/ Christopher
                                                       /s/             R. MacColl
                                                           Christopher R. MacColl
Washington, D.C.
Washington,  D.C.                                      Christopher R.
                                                       Christopher  R. MacColl
                                                                       MacColl
                                                       DC Bar
                                                       DC   Bar No.
                                                                No. 1049153
                                                                    1049153




                                                  22
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                 EXHIBIT A
                 EXHIBIT A
                  Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 4 of 31


MacColl, Christopher
MacColl, Christopher

From:
From:                                  Humphreys, Bradley
                                       Humphreys,    Bradley (CIV)
                                                               (CIV) <Bradley.Humphreys@usdoj.gov>
                                                                     <Bradley.Humphreys@usdoj.gov>
Sent:
Sent                                   Friday, May
                                       Friday, May 12,
                                                    12, 2023
                                                         2023 2:56   PM
                                                                2:56 PM
To:
To:                                    MacColl, Christopher
                                       MacColl,  Christopher
Cc:
Cc:                                    Gaffney, Michael
                                       Gaffney,           J. (CIV);
                                                 Michael J.  (CIV); Lynch,
                                                                    Lynch, Christopher
                                                                           Christopher M.
                                                                                        M. (CIV);
                                                                                             (CIV); Abbuhl,
                                                                                                    Abbuhl, Joshua
                                                                                                            Joshua (CIV);
                                                                                                                    (CIV); Goelman,
                                                                                                                           Goelman,
                                       Aitan; salzman@hellerhuron.com;
                                       Aitan;                                Konkel, Kaitlin;
                                              salzman@hellerhuron.com; Konkel,        Kaitlin; Katerberg,
                                                                                               Katerberg, Robert
                                                                                                          Robert J.;
                                                                                                                 J.; Jeffress,
                                                                                                                     Jeffress, Amy
                                                                                                                               Amy
Subject:
Subject                                Re: [EXTERNAL]
                                       Re: [EXTERNAL] RE:RE: Strzok  v. Garland
                                                              Strzok v. Garland // Page
                                                                                   Page v.
                                                                                        v. DOJ
                                                                                            DOJ -- Deposition
                                                                                                   Deposition of
                                                                                                              of Pres.
                                                                                                                 Pres. Trump
                                                                                                                       Trump //
                                       Executive Privilege
                                       Executive  Privilege Issues
                                                             Issues


Hi Chris,
Hi Chris,

We’re
We're doing
       doing everything
               everything we
                          we can  to lock
                              can to lock down
                                          down aa date for Director
                                                  date for Director Wray’s
                                                                    Wray's deposition.   That’s not
                                                                            deposition. That's  not the
                                                                                                    the easiest thing, as
                                                                                                        easiest thing,    I’m
                                                                                                                       as I'm
sure you  can  understand,  given his duties. A deposition next week  is highly unlikely. But we  understand  it’s a priority,
sure you can understand, given his duties. A deposition next week is highly unlikely. But we understand it's a priority,
and
and we’ll
     we'll circle
           circle back
                  back with you as
                       with you    soon as
                                as soon  as we
                                            we have
                                                have proposed
                                                     proposed dates.
                                                               dates.

Thanks,
Thanks,
Brad
Brad



          On
          On May 12, 2023,
             May 12, 2023, at
                           at 2:31 PM, MacColl,
                              2:31 PM, MacColl, Christopher
                                                Christopher <CMacColl@zuckerman.com>
                                                            <CMacColl@zuckerman.com> wrote:
                                                                                     wrote:


          Mike,
          Mike,

          We
          We respect  the Court's
              respect the Court’s order
                                  order and
                                         and would
                                             would like to get
                                                   like to get aa date for Director
                                                                  date for Director Wray's
                                                                                    Wray’s deposition
                                                                                           deposition on the
                                                                                                      on the
          calendar. We would
          calendar. We  would like  to keep
                               like to      the May
                                       keep the May 24
                                                     24 date  for President
                                                         date for  President Trump's
                                                                             Trump’s deposition.  That date
                                                                                     deposition. That       took us
                                                                                                       date took us
          six weeks
          six weeks of
                    of engaging
                       engaging with  President Trump's
                                 with President Trump’s attorneys
                                                          attorneys to
                                                                     to confirm.  We therefore
                                                                        confirm. We  therefore believe Director
                                                                                               believe Director
          Wray’s
          Wray's deposition should be
                 deposition should      scheduled for
                                     be scheduled for next
                                                      next week.
                                                            week.

          We  note that
          We note  that Defendants
                        Defendants created  the impression
                                    created the impression for for Judge
                                                                    Judge Jackson
                                                                          Jackson that
                                                                                  that Mr.
                                                                                       Mr. Strzok
                                                                                           Strzok was
                                                                                                  was insisting
                                                                                                      insisting on
                                                                                                                on
          President Trump's
          President Trump’s deposition
                            deposition being
                                        being held  first, but
                                              held first,  but II suggested
                                                                  suggested conducting  Director Wray's
                                                                             conducting Director Wray’s deposition
                                                                                                        deposition
          next week
          next week in  my email
                     in my email below
                                 below of April 27.
                                       of April      The Defendants
                                                27. The    Defendants have
                                                                        have not  responded.
                                                                              not responded.

          Chris
          Chris

          From: MacColl,
          From:   MacColl, Christopher
                            Christopher
          Sent: Thursday,
          Sent:  Thursday, April
                             April 27,
                                   27, 2023   11:07 AM
                                       2023 11:07     AM
          To: 'Gaffney,
          To: 'Gaffney, Michael    J. (CIV)'
                          Michael J.         <Michael.J.Gaffney@usdoj.gov>
                                      (CIV)' <Michael.J.Gaffney@usdoj.gov>
          Cc: 'Humphreys,
          Cc:                Bradley (CIV)'
              'Humphreys, Bradley      (CIV)' <Bradley.Humphreys@usdoj.gov>;
                                              <Bradley.Humphreys@usdoj.gov>; 'Lynch,           Christopher M.
                                                                                       'Lynch, Christopher M. (CIV)'
                                                                                                               (CIV)'
          <Christopher.M.Lynch@usdoj.gov>; 'Abbuhl,
          <Christopher.M.Lynch@usdoj.gov>;                      Joshua (CIV)'
                                                     'Abbuhl, Joshua          <Joshua.Abbuhl@usdoj.gov>; Goelman,
                                                                       (CIV)' <Joshua.Abbuhl@usdoj.gov>;      Goelman, Aitan
                                                                                                                         Aitan
          <AGoelman@zuckerman.com>; 'salzman@hellerhuron.com'
          <AGoelman@zuckerman.com>;                                             <salzman@hellerhuron.com>; 'Konkel,
                                                'salzman@hellerhuron.com' <salzman@hellerhuron.com>;             'Konkel,
          Kaitlin' <Kaitlin.Konkel@arnoldporter.com>;
          Kaitlin' <Kaitlin.Konkel@arnoldporter.com>; 'Katerberg,          Robert J.'
                                                               'Katerberg, Robert  J.'
          <Robert.Katerberg@arnoldporter.com>; 'Jeffress,
          <Robert.Katerberg@arnoldporter.com>;                       Amy' <Amy.Jeffress@arnoldporter.com>
                                                          'Jeffress, Amy' <Amy.Jeffress@arnoldporter.com>
          Subject: RE:
          Subject:  RE: Strzok
                        Strzok v.
                               v. Garland
                                   Garland // Page
                                               Page v.v. DOJ
                                                         DOJ -- Deposition
                                                                Deposition of
                                                                           of Pres.
                                                                              Pres. Trump
                                                                                    Trump // Executive
                                                                                              Executive Privilege
                                                                                                        Privilege Issues
                                                                                                                  Issues

          Mike,
          Mike,




                                                                   1
                                                                   1
          Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 5 of 31
Now that
Now  that we
          we have
              have aa tentative
                      tentative date for Scott
                                date for Scott Schools'
                                                Schools’ deposition
                                                         deposition and   seem to
                                                                     and seem   to be making some
                                                                                   be making    some progress
                                                                                                       progress
on
on a date for President Trump's deposition, I wanted to follow up regarding dates for Director Wray’s
   a date for President  Trump’s  deposition,  I wanted  to follow  up regarding  dates  for Director  Wray's
deposition. For the
deposition. For  the Strzok
                     Strzok team,
                             team, the
                                   the last two weeks
                                       last two  weeks of  May or
                                                        of May      early June
                                                                 or early June would
                                                                               would likely
                                                                                      likely be
                                                                                             be best.
                                                                                                 best.

Can you follow
Can you follow up
               up with the FBI
                  with the FBI and
                               and let
                                   let us
                                       us know
                                          know what
                                               what would
                                                    would work for the
                                                          work for the Director.
                                                                       Director.

Thanks,
Thanks,
Chris
Chris

From: MacColl,
From:   MacColl, Christopher
                  Christopher
Sent: Wednesday,
Sent:  Wednesday, April
                     April 26,
                           26, 2023   9:57 AM
                               2023 9:57    AM
To: 'Gaffney,
To: 'Gaffney, Michael   J. (CIV)'
                Michael J.        <Michael.J.Gaffney@usdoj.gov>
                           (CIV)' <Michael.J.Gaffney@usdoj.gov>
Cc: 'Humphreys,
Cc:                Bradley (CIV)'
    'Humphreys, Bradley     (CIV)' <Bradlev.Humphrevs@usdoj.gov>;
                                   <Bradley.Humphreys@usdoj.gov>; 'Lynch,            Christopher M.
                                                                             'Lynch, Christopher M. (CIV)'
                                                                                                     (CIV)'
<Christopher.M.Lynch@usdoj.gov>; 'Abbuhl,
<Christopher.M.Lynch@usdoj.gov>;                      Joshua (CIV)'
                                          'Abbuhl, Joshua           <Joshua.Abbuhl@usdoj.gov>; Goelman,
                                                             (CIV)' <Joshua.Abbuhl@usdoj.gov>;                 Aitan
                                                                                                    Goelman, Aitan
<AGoelman@zuckerman.com>; 'salzman@hellerhuron.com'
<AGoelman@zuckerman.com>;                                             <salzman@hellerhuron.com>; 'Konkel,
                                     'salzman@hellerhuron.com' <salzman@hellerhuron.com>;              'Konkel,
Kaitlin' <Kaitlin.Konkel@arnoldporter.com>;
Kaitlin' <Kaitlin.Konkel@arnoldporter.com>; 'Katerberg,          Robert J.'
                                                     'Katerberg, Robert  J.'
<Robert.Katerberg@arnoldporter.com>; 'Jeffress,
<Robert.Katerberg@arnoldporter.com>;                       Amy' <Amy.Jeffress@arnoldporter.com>
                                               'Jeffress, Amy'  <Amy.Jeffress@arnoldporter.com>
Subject: RE:
Subject:  RE: Strzok
              Strzok v.
                     v. Garland
                        Garland // Page
                                    Page v.v. DOJ
                                              DOJ -- Deposition
                                                      Deposition of
                                                                 of Pres.
                                                                    Pres. Trump
                                                                          Trump // Executive
                                                                                    Executive Privilege
                                                                                              Privilege Issues
                                                                                                        Issues

Mike,
Mike,

We’ve
We've been been emailing
                 emailing Ms. Habba and
                          Ms. Habba      two other
                                     and two          lawyers for
                                              other lawyers    for President
                                                                   President Trump,
                                                                             Trump, Michael
                                                                                     Michael Madaio
                                                                                              Madaio withwith Ms.
                                                                                                               Ms.
Habba’s firm
Habba's      firm and
                  and David
                      David Warrington
                            Warrington of  The Dhillon
                                        of The  Dhillon Law
                                                         Law Group.    Unfortunately, notwithstanding
                                                             Group. Unfortunately,    notwithstanding an      April
                                                                                                           an April
55 call
    call with   Ms. Habba
         with Ms.   Habba on
                          on which
                             which she  said April
                                    she said April 28
                                                   28 did  not work,
                                                       did not  work, discussed
                                                                      discussed potential
                                                                                potential dates
                                                                                          dates with
                                                                                                 with us    that
                                                                                                        us that
would     likely work,
 would likely    work, and indicated she
                       and indicated she would   get back
                                         would get   back with   the former
                                                           with the  former President's
                                                                             President’s availability
                                                                                         availability in
                                                                                                      in aa day  or
                                                                                                            day or
so, no
so,   no indication  of President
          indication of President Trump's
                                  Trump’s availability
                                           availability has
                                                        has been
                                                            been provided.    My understanding
                                                                   provided. My   understanding from
                                                                                                  from the
                                                                                                         the emails
                                                                                                              emails
is  that David
 is that  David Warrington   has taken
                 Warrington has  taken over
                                       over as  the primary
                                             as the          representative for
                                                    primary representative    for President
                                                                                  President Trump
                                                                                            Trump on     this
                                                                                                     on this
matter.
matter.

Can you let
Can you let me
            me know   how the
                know how  the Defendants
                              Defendants are
                                          are planning to proceed?
                                              planning to           We want
                                                          proceed? We         to be
                                                                        want to     respectful of
                                                                                 be respectful of
everyone’s  time and
everyone's time  and commitments,
                     commitments, but
                                   but after
                                       after eighteen months, we’re
                                             eighteen months,  we're also frustrated by
                                                                     also frustrated    the continued
                                                                                     by the continued
delay.
delay.

Chris
Chris

From: MacColl,
From:   MacColl, Christopher
                  Christopher
Sent: Friday,
Sent:  Friday, March
               March 31,
                      31, 2023
                           2023 3:20   PM
                                  3:20 PM
To: 'Gaffney,
To: 'Gaffney, Michael   J. (CIV)'
                Michael J.        <Michael.J.Gaffney@usdoj.gov>
                           (CIV)' <Michael.J.Gaffney@usdoj.gov>
Cc: 'Humphreys,
Cc:                Bradley (CIV)'
    'Humphreys, Bradley     (CIV)' <Bradley.Humphreys@usdoj.gov>;
                                   <Bradley.Humphreys@usdoj.gov>; 'Lynch,            Christopher M.
                                                                             'Lynch, Christopher M. (CIV)'
                                                                                                     (CIV)'
<Christopher.M.Lynch@usdoj.gov>; 'Abbuhl,
<Christopher.M.Lynch@usdoj.gov>;                      Joshua (CIV)'
                                          'Abbuhl, Joshua           <Joshua.Abbuhl@usdoj.gov>; Goelman,
                                                             (CIV)' <Joshua.Abbuhl@usdoj.gov>;                 Aitan
                                                                                                    Goelman, Aitan
<AGoelman@zuckerman.com>; 'salzman@hellerhuron.com'
<AGoelman@zuckerman.com>;                                             <salzman@hellerhuron.com>; 'Konkel,
                                     'salzman@hellerhuron.com' <salzman@hellerhuron.com>;              'Konkel,
Kaitlin' <Kaitlin.Konkel@arnoldporter.com>;
Kaitlin' <Kaitlin.Konkel@arnoldporter.com>; 'Katerberg,          Robert J.'
                                                     'Katerberg, Robert  J.'
<Robert.Katerberg@arnoldporter.com>; 'Jeffress,
<Robert.Katerberg@arnoldporter.com>;                       Amy' <Amy.Jeffress@arnoldporter.com>
                                               'Jeffress, Amy'  <Amy.Jeffress@arnoldporter.com>
Subject: RE:
Subject:  RE: Strzok
              Strzok v.
                     v. Garland
                        Garland // Page
                                    Page v.v. DOJ
                                              DOJ -- Deposition
                                                      Deposition of
                                                                 of Pres.
                                                                    Pres. Trump
                                                                          Trump // Executive
                                                                                    Executive Privilege
                                                                                              Privilege Issues
                                                                                                        Issues

Mike,
Mike,

On  the subject
On the   subject of
                 of President
                    President Trump's
                               Trump's deposition,
                                       deposition, we're   going to
                                                     we're going  to provide Ms. Habba
                                                                     provide Ms. Habba with
                                                                                        with aa revised
                                                                                                revised
noticed date
noticed   date of April 28,
               of April 28, 2023,
                            2023, on the understanding
                                  on the                 that that
                                         understanding that    that date
                                                                    date would
                                                                         would work  for Defendants,
                                                                               work for  Defendants, both
                                                                                                       both
Plaintiffs, and
Plaintiffs,     their respective
            and their respective counsel.
                                  counsel. Of
                                           Of course,
                                               course, we'll
                                                       we'll confer
                                                             confer with President Trump's
                                                                    with President Trump's counsel
                                                                                            counsel on   the
                                                                                                      on the
logistics,
logistics, potentially
           potentially including further revision
                       including further revision of
                                                  of the
                                                     the date.
                                                         date.

                                                         2
                                                         2
          Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 6 of 31
Thanks,
Thanks,
Chris
Chris

-----Original
     Original Message-----
              Message
From: MacColl,
From:   MacColl, Christopher
                  Christopher
Sent: Friday,
Sent:  Friday, March
               March 31,
                      31, 2023    11:37 AM
                           2023 11:37   AM
To: 'Gaffney,
To:            Michael J.
     'Gaffney, Michael  J. (CIV)' <Michael.J.Gaffney@usdoj.gov>
                           (CIV)' <Michael.J.Gaffney@usdoj.gov>
Cc:  Humphreys, Bradley
Cc: Humphreys,    Bradley (CIV)   <Bradley.Humphreys@usdoj.gov>; Lynch,
                            (CIV) <Bradley.Humphreys@usdoj.gov>;                Christopher M.
                                                                         Lynch, Christopher M. (CIV)
                                                                                                (CIV)
<Christopher.M.Lynch@usdoj.gov>; Abbuhl,
<Christopher.M.Lynch@usdoj.gov>;         Abbuhl, Joshua
                                                   Joshua (CIV)  <Joshua.Abbuhl@usdoj.gov>; Goelman,
                                                          (CIV) <Joshua.Abbuhl@usdoj.gov>;                 Aitan
                                                                                                Goelman, Aitan
<AGoelman@zuckerman.com>; salzman@hellerhuron.com;
<AGoelman@zuckerman.com>;                                           Konkel, Kaitlin
                                     salzman@hellerhuron.com; Konkel,       Kaitlin
<Kaitlin.Konkel@arnoldporter.com>; Katerberg,
<Kaitlin.Konkel@arnoldporter.com>;        Katerberg, Robert
                                                      Robert J.
                                                              J. <Robert.Katerberg@arnoldporter.com>;
                                                                 <Robert.Katerberg@arnoldporter.com>;
Jeffress, Amy
Jeffress, Amy <Amy.Jeffress@arnoldporter.com>
               <Amy.Jeffress@arnoldporter.com>
Subject: RE:
Subject:  RE: Strzok
              Strzok v.
                     v. Garland
                        Garland // Page
                                    Page v.
                                         v. DOJ
                                            DOJ -- Deposition
                                                   Deposition of  Pres. Trump
                                                               of Pres. Trump // Executive
                                                                                 Executive Privilege
                                                                                           Privilege Issues
                                                                                                     Issues

Thanks, Mike.
Thanks, Mike.

On the other
On the other items,
              items, do you have
                     do you have aa response
                                    response for
                                             for us
                                                 us about the two
                                                    about the two Kelly
                                                                  Kelly documents and the
                                                                        documents and the other
                                                                                          other
executive
executive privilege
          privilege documents?
                    documents?

We
We would
    would also    like to
             also like to reopen
                          reopen Scott
                                  Scott Schools'
                                        Schools' deposition
                                                 deposition in
                                                            in light
                                                               light of the change
                                                                     of the         in position
                                                                            change in           regarding
                                                                                       position regarding
executive
executive privilege.    Can you
            privilege. Can   you let
                                 let us
                                     us know
                                        know what
                                             what dates
                                                   dates would
                                                         would work?      The time
                                                                  work? The   time required
                                                                                   required would
                                                                                             would certainly
                                                                                                    certainly be
                                                                                                              be
relatively limited.
relatively limited.

Chris
Chris

-----Original
     Original Message-----
              Message
From: Gaffney,
From:            Michael J.
       Gaffney, Michael   J. (CIV) <Michael.J.Gaffney@usdoj.gov>
                             (CIV) <Michael.J.Gaffney@usdoj.gov>
Sent: Friday,
Sent: Friday, March
               March 31,
                      31, 2023  9:19 AM
                          2023 9:19   AM
To: MacColl,
To:  MacColl, Christopher
               Christopher <CMacColl@zuckerman.com>
                            <CMacColl@zuckerman.com>
Cc:  Humphreys, Bradley
Cc: Humphreys,    Bradley (CIV)  <Bradley.Humphreys@usdoj.gov>; Lynch,
                           (CIV) <Bradley.Humphreys@usdoj.gov>;         Lynch, Christopher
                                                                               Christopher M.
                                                                                           M. (CIV)
                                                                                               (CIV)
<Christopher.M.Lynch@usdoj.gov>; Abbuhl,
<Christopher.M.Lynch@usdoj.gov>;        Abbuhl, Joshua
                                                  Joshua (CIV)  <Joshua.Abbuhl@usdoj.gov>; Goelman,
                                                         (CIV) <Joshua.Abbuhl@usdoj.gov>;                 Aitan
                                                                                               Goelman, Aitan
<AGoelman@zuckerman.com>; salzman@hellerhuron.com;
<AGoelman@zuckerman.com>;           salzman@hellerhuron.com; Konkel,
                                                                   Konkel, Kaitlin
                                                                           Kaitlin
<Kaitlin.Konkel@arnoldporter.com>; Katerberg,
<Kaitlin.Konkel@arnoldporter.com>;       Katerberg, Robert
                                                     Robert J.
                                                             J. <Robert.Katerberg@arnoldporter.com>;
                                                                <Robert.Katerberg@arnoldporter.com>;
Jeffress, Amy
Jeffress, Amy <Amy.Jeffress@arnoldporter.com>
                <Amy.Jeffress@arnoldporter.com>
Subject: RE:
Subject:  RE: Strzok
              Strzok v.
                     v. Garland
                        Garland // Page
                                   Page v.
                                        v. DOJ
                                           DOJ -- Deposition
                                                  Deposition of  Pres. Trump
                                                              of Pres. Trump // Executive
                                                                                Executive Privilege
                                                                                          Privilege Issues
                                                                                                    Issues

Chris,
Chris,

As II stated
As    stated last
             last night,
                  night, we
                         we don’t foresee any
                            don't foresee     scheduling issues
                                          any scheduling issues being
                                                                being an
                                                                      an issue   for the
                                                                          issue for  the government.
                                                                                          government. After
                                                                                                       After
you speak
you   speak with  Mr. Trump's
             with Mr. Trump’s representative   and understand
                               representative and  understand his
                                                               his availability,
                                                                   availability, please
                                                                                 please let
                                                                                         let us
                                                                                             us know the
                                                                                                know the
available
available dates.
           dates.

Mike
Mike

-----Original
     Original Message-----
              Message
From: MacColl,
From:  MacColl, Christopher
                 Christopher <CMacColl@zuckerman.com>
                               <CMacColl@zuckerman.com>
Sent: Thursday,
Sent: Thursday, March
                 March 30,30, 2023 11:18 PM
                              2023 11:18 PM
To: Gaffney,
To:  Gaffney, Michael
              Michael J.
                       J. (CIV)
                          (CIV) <Michael.J.Gaffney@usdoj.gov>
                                <Michael.J.Gaffney@usdoj.gov>
Cc:  Humphreys, Bradley
Cc: Humphreys,   Bradley (CIV)   <Bradley.Humphreys@usdoj.gov>; Lynch,
                           (CIV) <Bradley.Humphreys@usdoj.gov>;     Lynch, Christopher
                                                                            Christopher M.
                                                                                        M. (CIV)
                                                                                           (CIV)
<Christopher.M.Lynch@usdoj.gov>; Abbuhl,
<Christopher.M.Lynch@usdoj.gov>;       Abbuhl, Joshua
                                                Joshua (CIV) <Joshua.Abbuhl@usdoj.gov>; Goelman,
                                                       (CIV) <Joshua.Abbuhl@usdoj.gov>;             Aitan
                                                                                           Goelman, Aitan
<AGoelman@zuckerman.com>; salzman@hellerhuron.com;
<AGoelman@zuckerman.com>;          salzman@hellerhuron.com; Konkel,
                                                                Konkel, Kaitlin
                                                                        Kaitlin


                                                        3
                                                        3
         Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 7 of 31
<Kaitlin.Konkel@arnoldporter.com>; Katerberg,
<Kaitlin.Konkel@arnoldporter.com>;    Katerberg, Robert
                                                  Robert J.
                                                          J. <Robert.Katerberg@arnoldporter.com>;
                                                             <Robert.Katerberg@arnoldporter.com>;
Jeffress, Amy <Amy.Jeffress@arnoldporter.com>
Jeffress, Amy <Amy.Jeffress@arnoldporter.com>
Subject: [EXTERNAL]
Subject:             Re: Strzok
          [EXTERNAL] Re: Strzok v.
                                v. Garland
                                   Garland // Page
                                              Page v.
                                                   v. DOJ
                                                      DOJ -- Deposition
                                                             Deposition of Pres. Trump
                                                                        of Pres. Trump // Executive
                                                                                          Executive Privilege
                                                                                                    Privilege
Issues
Issues

Respectfully, Mike,
Respectfully, Mike, wewe are  entitled to
                          are entitled  to set
                                           set the
                                               the order  and to
                                                   order and  to set
                                                                 set the
                                                                     the date  for the
                                                                          date for the third
                                                                                       third party
                                                                                             party depositions
                                                                                                    depositions
we notice. We
we notice. We noticed
                 noticed former
                           former President
                                   President Trump's
                                               Trump’s deposition  sixteen months
                                                        deposition sixteen   months ago,
                                                                                     ago, and
                                                                                           and we
                                                                                               we would
                                                                                                    would like  to
                                                                                                           like to
proceed
proceed with  it. If,
         with it. If, as the Department
                      as the Department of  of Justice
                                               Justice has suggested, it
                                                       has suggested,     intends to
                                                                       it intends to petition for aa writ
                                                                                     petition for    writ of
                                                                                                          of
mandamus with
mandamus    with respect
                  respect toto Judge
                               Judge Jackson's
                                     Jackson’s order
                                                 order governing  President Trump's
                                                        governing President   Trump’s deposition,
                                                                                        deposition, we
                                                                                                     we would
                                                                                                          would like
                                                                                                                 like
that to
that to happen
        happen sooner
                 sooner rather   than later.
                          rather than  later.

II reiterate
   reiterate our
             our request  for your
                  request for your availability
                                   availability in
                                                in late April and
                                                   late April and early May. We
                                                                  early May. We will
                                                                                will certainly
                                                                                     certainly consider your
                                                                                               consider your
 availability if you
 availability if you provide it.
                     provide it.

II am sure we
   am sure we are
              are all familiar with
                  all familiar      President Trump's
                               with President Trump’s current
                                                      current employment situation and
                                                              employment situation     ample resources.
                                                                                   and ample resources.

Chris
Chris

On Mar 30,
On Mar 30, 2023, at 10:09
           2023, at 10:09 PM,
                          PM, Gaffney, Michael J.
                              Gaffney, Michael J. (CIV) <Michael.J.Gaffney@usdoj.gov> wrote:
                                                  (CIV) <Michael.J.Gaffney@usdoj.gov> wrote:


Chris,
Chris,
Thanks for
Thanks   for following
              following up.up. On   your question
                                On your    question about
                                                     about deposition    scheduling, please
                                                            deposition scheduling,      please contact    Alina Habba
                                                                                                contact Alina   Habba atat
ahabba@habbalaw.com<mailto:ahabba@habbalaw.com>,
ahabba@habbalaw.com<mailto:ahabba@habbalaw.com>, who                   who is   the representative
                                                                             is the representative we  we referred   to in
                                                                                                           referred to  in
our
our March
    March 24      filing. We
              24 filing.       think it
                           We think   it is
                                         is premature
                                            premature toto discuss
                                                           discuss our  availability for
                                                                    our availability  for former
                                                                                          former President
                                                                                                   President Trump's
                                                                                                               Trump’s
deposition    since we
deposition since      we expect
                          expect his   schedule will
                                   his schedule   will more
                                                       more likely
                                                             likely be the driving
                                                                    be the           factor on
                                                                            driving factor   on when    the deposition
                                                                                                 when the    deposition
takes place.
takes           After you
       place. After     you speak
                             speak with     Mr. Trump's
                                     with Mr.   Trump’s representative
                                                         representative and      understand his
                                                                           and understand      his availability,
                                                                                                   availability, please
                                                                                                                 please let
                                                                                                                         let
us
us know
   know andand we
                we will    then do
                      will then  do our
                                    our best   to also
                                          best to also be
                                                       be available  as well.
                                                           available as well. Note     also that
                                                                                Note also   that it
                                                                                                 it is Defendants’
                                                                                                    is Defendants'
position   that Director
position that   Director Wray      should be
                             Wray should     be deposed
                                                deposed before    Mr. Trump.
                                                          before Mr.   Trump. So So please
                                                                                    please let
                                                                                             let us
                                                                                                 us know   your thoughts
                                                                                                    know your    thoughts
on
on when you would like to take Director Wray's deposition and we will consult with the FBI about his
   when     you  would    like to take  Director  Wray’s   deposition  and  we   will consult  with   the FBI about  his
availability.
availability.
We
We will   follow up
    will follow    up on    your other
                       on your   other questions.
                                         questions.
Mike
Mike


From: MacColl,
From:   MacColl, Christopher
                 Christopher <CMacColl@zuckerman.com>
                              <CMacColl@zuckerman.com>
Sent: Thursday,
Sent:  Thursday, March
                 March 30,
                        30, 2023  10:23 AM
                            2023 10:23  AM
To: Humphreys,
To:  Humphreys, Bradley
                  Bradley (CIV) <Bradley.Humphreys@usdoj.gov>; Lynch,
                          (CIV) <Bradley.Humphreys@usdoj.gov>;        Lynch, Christopher  M. (CIV)
                                                                             Christopher M.  (CIV)
<Christopher.M.Lynch@usdoj.gov>; Abbuhl,
<Christopher.M.Lynch@usdoj.gov>;      Abbuhl, Joshua
                                                Joshua (CIV)   <Joshua.Abbuhl@usdoj.gov>; Gaffney,
                                                        (CIV) <Joshua.Abbuhl@usdoj.gov>;     Gaffney, Michael
                                                                                                       Michael
J. (CIV)
J. (CIV) <Michael.J.Gaffney@usdoj.gov>
         <Michael.J.Gaffney@usdoj.gov>
Cc:
Cc: Goelman,   Aitan <AGoelman@zuckerman.com>;
     Goelman, Aitan  <AGoelman@zuckerman.com>; salzman@hellerhuron.com;
                                                       salzman@hellerhuron.com; Konkel,
                                                                                     Konkel, Kaitlin
                                                                                              Kaitlin
<Kaitlin.Konkel@arnoldporter.com>; Katerberg,
<Kaitlin.Konkel@arnoldporter.com>;     Katerberg, Robert
                                                   Robert J.J. <Robert.Katerberg@arnoldporter.com>;
                                                               <Robert.Katerberg@arnoldporter.com>;
Jeffress, Amy
Jeffress, Amy <Amy.Jeffress@arnoldporter.com>
              <Amy.Jeffress@arnoldporter.com>
Subject: [EXTERNAL]
Subject:              RE: Strzok
          [EXTERNAL] RE:  Strzok v.
                                 v. Garland
                                    Garland // Page
                                               Page v.
                                                    v. DOJ
                                                       DOJ -- Deposition
                                                              Deposition of
                                                                         of Pres.
                                                                            Pres. Trump
                                                                                  Trump // Executive
                                                                                           Executive Privilege
                                                                                                      Privilege
Issues
Issues

Brad, Mike,
Brad, Mike, Chris, Josh,
            Chris, Josh,

Wanted to follow
Wanted to follow up
                 up on the below.
                    on the below.




                                                              4
                                                              4
          Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 8 of 31
If you
If you are
        are not
            not able to respond
                able to respond toto all
                                     all the
                                         the requests
                                             requests at the moment,
                                                      at the moment, please  let us
                                                                      please let us know
                                                                                    know days on which
                                                                                         days on which
Defendants would be available to attend a two hour deposition of former President Trump. We would
Defendants    would  be  available to attend   a two hour deposition of former President Trump.  We would
like to move
like to       forward with
        move forward          an amended
                        with an              subpoena tomorrow.
                                 amended subpoena      tomorrow.

Thanks,
Thanks,
Chris
Chris

From: MacColl,
From:  MacColl, Christopher
                  Christopher
Sent: Monday,
Sent:  Monday, March
                  March 27,
                         27, 2023  9:17 AM
                             2023 9:17   AM
To: 'Humphreys,
To:                 Bradley (CIV)'
     'Humphreys, Bradley    (CIV)'
<Bradley.Humphreys@usdoj.gov<mailto:Bradley.Humphreys@usdoj.gov>>; Lynch,
<Bradley.Humphreys@usdoj.gov<mailto:Bradley.Humphreys@usdoj.gov>>;                 Lynch, Christopher
                                                                                          Christopher M. M. (CIV)
                                                                                                             (CIV)
<Christopher.M.Lynch@usdoj.gov<mailto:Christopher.M.Lynch@usdoj.gov>>; Abbuhl,
<Christopher.M.Lynch@usdoj.gov<mailto:Christopher.M.Lynch@usdoj.gov>>;               Abbuhl, Joshua
                                                                                                Joshua (CIV)
                                                                                                        (CIV)
<Joshua.Abbuhl@usdoj.gov<mailto:Joshua.Abbuhl@usdoj.gov>>; Gaffney,
<Joshua.Abbuhl@usdoj.gov<mailto:Joshua.Abbuhl@usdoj.gov>>;                       Michael J.
                                                                       Gaffney, Michael    J. (CIV)
                                                                                              (CIV)
<Michael.J.Gaffney@usdoj.gov<mailto:Michael.J.Gaffney@usdoj.gov>>
<Michael.J.Gaffney@usdoj.gov<mailto:Michael.J.Gaffney@usdoj.gov>>
Cc:
Cc: Goelman,    Aitan <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com>>;
    Goelman, Aitan    <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com>>;
'salzman@hellerhuron.com'        <salzman@hellerhuron.com<mailto:salzman@hellerhuron.com>>; 'Konkel,
'salzman@hellerhuron.com' <salzman@hellerhuron.com<mailto:salzman@hellerhuron.com>>;                      'Konkel,
Kaitlin' <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.com>>;
Kaitlin' <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.com>>; Katerberg,   Katerberg,
Robert J.
Robert   J. <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporter.com>>;
            <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporter.com>>;
Jeffress, Amy
Jeffress,  Amy <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com>>
                <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com>>
Subject: Strzok
Subject:   Strzok v.
                  v. Garland
                     Garland // Page
                                Page v.
                                     v. DOJ
                                        DOJ -- Deposition
                                               Deposition of Pres. Trump
                                                          of Pres. Trump // Executive
                                                                            Executive Privilege
                                                                                      Privilege Issues
                                                                                                  Issues

Brad, Mike,
Brad, Mike, Chris, Josh,
            Chris, Josh,

Hope you
Hope you all
         all had
             had aa nice
                    nice weekend.
                         weekend.

In light
In light of the decision
         of the          to not
                decision to not assert
                                assert executive
                                       executive privileges,
                                                 privileges, please
                                                             please let
                                                                      let us
                                                                          us know
                                                                             know what
                                                                                    what dates
                                                                                          dates would
                                                                                                would work for
                                                                                                      work for
President Trump's
President   Trump’s deposition.
                     deposition. We
                                  We would
                                      would like to schedule
                                            like to           it for
                                                    schedule it  for late  April or
                                                                     late April  or early May.
                                                                                    early May.

We
We will
    will need to coordinate
         need to coordinate with
                            with counsel  for President
                                  counsel for President Trump
                                                        Trump as
                                                              as well.
                                                                 well. Can you let
                                                                       Can you let us
                                                                                   us know
                                                                                      know which
                                                                                           which of his
                                                                                                 of his
attorneys  provided the position regarding  the PCP?
attorneys provided the position regarding the PCP?

Also, we
Also, we would
          would appreciate     Defendants producing
                 appreciate Defendants                   the PCP
                                             producing the   PCP document
                                                                  document discussed      at Mr.
                                                                               discussed at   Mr. School's
                                                                                                  School’s
deposition
deposition and
            and any
                 any other
                       other documents     related to
                             documents related      to meetings
                                                       meetings oror communications
                                                                     communications with       President Trump
                                                                                        with President    Trump that
                                                                                                                 that
have
have been   redacted or
      been redacted     or withheld
                           withheld due   to executive
                                     due to  executive privileges.
                                                         privileges. II have
                                                                        have seen
                                                                             seen some
                                                                                   some redactions
                                                                                          redactions for
                                                                                                       for
“INFORMATION
"INFORMATION ORIGINATING
                  ORIGINATING WITH WITH ANOTHER
                                          ANOTHER GOVERNMENT            AGENCY”, and
                                                      GOVERNMENT AGENCY",               I’m not
                                                                                   and I'm   not sure
                                                                                                  sure whether
                                                                                                       whether
that’s indicative
that's indicative of
                  of aa code  selection error
                        code selection   error (N
                                               (N instead
                                                   instead of  M) or
                                                            of M) or reflects
                                                                      reflects an executive privilege
                                                                               an executive   privilege assertion.
                                                                                                        assertion. II
am  hopeful that
am hopeful   that Friday's
                  Friday’s notice
                            notice also
                                    also resolves   the question
                                         resolves the   question ofof whether
                                                                      whether toto assert
                                                                                   assert privilege
                                                                                           privilege over  the two
                                                                                                     over the  two
notes identified
notes  identified by
                  by General    Kelly. Please
                      General Kelly.   Please let
                                               let us
                                                   us know.
                                                      know.

Thanks,
Thanks,
Chris
Chris

<https://protect2.fireeye.com/v1/url?k=8b7d2c52-d4e615e1-8b7a08b7-0cc47adc5e1a-
<https://protect2.fireeye.com/v1/url?k=8b7d2c52-d4e615e1-8b7a08b7-0cc47adc5e1a-
e57cdd5a9fa30fc4&q=1&e=15c41e5d-a193-4cc0-b32c-
e57cdd5a9fa30fc4&q=1&e=15c41e5d-a193-4cc0-b32c-
77567fc990fe&u=http%3A%2F%2Fwww.zuckerman.com%2F>
77567fc990fe&u=http%3A%2F%2Fwww.zuckerman.com%2F>
<image001.png>
<image001.png>

Christopher MacColl
Christopher MacColl
Zuckerman Spaeder
Zuckerman  Spaeder LLP
                    LLP
CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com>
CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com>



                                                          5
                                                          5
        Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 9 of 31
1800 M
1800 M STREET
       STREET NW,   SUITE 1000
               NW, SUITE  1000 •• WASHINGTON,
                                  WASHINGTON, DC DC 20036-5807
                                                    20036-5807
202.778.1849 direct •
202.778.1849 direct •              mobile • 202.822.8106 fax
                                   mobile • 202.822.8106 fax

► Download  vCard<https://protect2.fireeye.com/v1/url?k=a70ed503-f895ecb0-a709f1e6-
   Download vCard<https://protect2.fireeye.com/v1/url?k=a70ed503-f895ecb0-a709f1e6-
0cc47adc5e1a-997ae75f98af57c6&q=1&e=15c41e5d-a193-4cc0-b32c-
0cc47adc5e1a-997ae75f98af57c6&q=1&e=15c41e5d-a193-4cc0-b32c-
77567fc990fe&u=https%3A%2F%2Fwww.zuckerman.com%2Fvcard%2FChristopher_MacColl%2F>
77567fc990fe&u=https%3A%2F%2Fwww.zuckerman.com%2Fvcard%2FChristopher_MacColl%2F> |I
zuckerman.com<https://protect2.fireeye.com/v1/url?k=bcf156db-e36a6f97-bcf6723e-0cc47adca7cc-
zuckerman.com<https://protect2.fireeye.com/v1/url?k=bcf156db-e36a6f97-bcf6723e-0cc47adca7cc-
e3983f4c0db60e07&q=1&e=63d697d4-e49a-4ab9-a0db-
e3983f4c0db60e07&q=1&e=63d697d4-e49a-4ab9-a0db-
e8f4757c3a63&u=http%3A%2F%2Fwww.zuckerman.com%2F>
e8f4757c3a63&u=http%3A%2F%2Fwww.zuckerman.com%2F>

This transmission
This  transmission (including
                    (including any
                               any attachments)     from the
                                    attachments) from      the law   firm of
                                                               law firm    of Zuckerman    Spaeder LLP
                                                                              Zuckerman Spaeder     LLP may
                                                                                                        may contain
                                                                                                             contain
information   that is
information that   is confidential
                      confidential and/or   subject to
                                   and/or subject    to the
                                                        the attorney-client
                                                             attorney-client privilege
                                                                                privilege or the work
                                                                                          or the work product
                                                                                                       product
doctrine.  Use or
doctrine. Use   or dissemination
                   dissemination of   this information
                                   of this information byby anyone
                                                             anyone other     than the
                                                                       other than   the intended
                                                                                        intended recipient
                                                                                                  recipient is
                                                                                                            is
prohibited
prohibited and
             and may
                 may bebe unlawful.
                          unlawful. If   you have
                                      If you have received    this transmission
                                                   received this   transmission in in error,
                                                                                      error, please immediately
                                                                                             please immediately
notify  the sender
notify the  sender by
                    by return
                       return email
                              email oror contact
                                          contact us
                                                  us by  telephone at
                                                     by telephone      at 202.778.1800
                                                                          202.778.1800 andand permanently
                                                                                               permanently delete
                                                                                                            delete
all
all copies.
    copies.




                                                          6
                                                          6
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                  EXHIBIT B
                  EXHIBIT B
                 Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 11 of 31


MacColl, Christopher
MacColl, Christopher

From:
From:                                 David Warrington
                                      David  Warrington (Dhillon
                                                           (Dhillon Law)
                                                                     Law) <DWarrington@dhillonlaw.com>
                                                                           <DWarrington@dhillonlaw.com>
Sent:
Sent                                  Wednesday, May
                                      Wednesday,     May 10,
                                                          10, 2023
                                                              2023 11:09   AM
                                                                     11:09 AM
To:
To:                                   MacColl, Christopher
                                      MacColl,  Christopher
Cc:
Cc:                                   Alina Habba,
                                      Alina Habba, Esq.;   Goelman, Aitan;
                                                     Esq.; Goelman,    Aitan; salzman@hellerhuron.com;     Konkel, Kaitlin;
                                                                              salzman@hellerhuron.com; Konkel,     Kaitlin; Jeffress,
                                                                                                                            Jeffress,
                                      Amy; Katerberg,
                                      Amy;               Robert J.;
                                            Katerberg, Robert    J.; Michael
                                                                     Michael Madaio;   Erin Potter
                                                                              Madaio; Erin  Potter (Dhillon
                                                                                                   (Dhillon Law)
                                                                                                            Law)
Subject:
Subject                               RE: Strzok
                                      RE: Strzok v.
                                                  v. Garland
                                                     Garland 19-cv-2367
                                                              19-cv-2367 // Page
                                                                              Page v.
                                                                                   v. DOJ  19-cv-3675 -- Subpoena
                                                                                      DOJ 19-cv-3675      Subpoena Served
                                                                                                                    Served onon
                                      Donald J.
                                      Donald  J. Trump
                                                 Trump




 EXTERNAL
 EXTERNAL

Chris,
Chris,

May 24th
May 24th works  for the
         works for  the President.
                        President. The
                                   The DOJ
                                        DOJ is
                                            is pretty sure it
                                               pretty sure it works for them
                                                              works for them and
                                                                             and will
                                                                                 will confirm
                                                                                      confirm with me tomorrow
                                                                                              with me tomorrow and
                                                                                                               and they
                                                                                                                   they
agreed that we
agreed that    should put
            we should      that date
                       put that      on the
                                date on the calendar  for the
                                            calendar for  the deposition.
                                                              deposition.

We
We are
    are also
        also working
             working with the Secret
                     with the Secret Service
                                     Service on
                                             on location and will
                                                location and will let you know
                                                                  let you know what
                                                                               what works in regards
                                                                                    works in         to aa site
                                                                                             regards to    site in
                                                                                                                in the
                                                                                                                   the next
                                                                                                                       next
day or so.
day or so.

Thanks,
Thanks,

Dave
Dave

David A.
David A. Warrington
         Warrington |I Partner
                       Partner |I DHILLON
                                  DHILLON LAW GROUP
                                          LAW GROUP

2121 Eisenhower Avenue,
2121 Eisenhower  Avenue, Suite
                         Suite 608
                               608
Alexandria, VA
Alexandria, VA 22314
               22314
Direct:
Direct:
Mobile:
Mobile:

SAN FRANCISCO
SAN FRANCISCO ADDRESS:
                  ADDRESS:
177 Post
177 Post Street,
         Street, Suite
                 Suite 700
                       700
San Francisco,
San Francisco, California
               California 94108
                           94108
Phone: 415.433.1700
Phone: 415.433.1700|I Fax:
                         Fax: 415.520.6593
                              415.520.6593
*Admitted
*Admitted Only
           Only in  Virginia and
                 in Virginia and Washington, D.C.
                                 Washington, D.C.

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STATEMENT     OF CONFIDENTIALITY
                  CONFIDENTIALITY &  & DISCLAIMER:
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                   intended only  for the
                             only for the use
                                          use of
                                               of the
                                                  the individual
                                                      individual or entity named
                                                                 or entity         above. If
                                                                           named above.     If the
                                                                                               the reader
                                                                                                   reader of  this message
                                                                                                           of this message is     not
                                                                                                                               is not
the intended
the            recipient, you
    intended recipient,   you are hereby notified
                              are hereby  notified that
                                                    that any
                                                         any dissemination,
                                                             dissemination, distribution
                                                                             distribution or
                                                                                           or copy
                                                                                                copy of this email
                                                                                                     of this email is  strictly
                                                                                                                    is strictly
prohibited. If you
prohibited. If you have
                    have received  this email
                          received this email in
                                              in error,
                                                 error, please notify us
                                                        please notify us immediately
                                                                         immediately by by calling  (415) 433-1700
                                                                                           calling (415)  433-1700 andand delete
                                                                                                                            delete
the message.
the message. Thank
               Thank you.
                      you.

-----Original
     Original Message-----
              Message
From: MacColl,
From:   MacColl, Christopher
                 Christopher <CMacColl@zuckerman.com>
                              <CMacColl@zuckerman.com>
Sent: Tuesday,
Sent:  Tuesday, May  9, 2023
                May 9,  2023 7:16  AM
                              7:16 AM
To: David
To:  David Warrington
            Warrington (Dhillon Law) <DWarrington@dhillonlaw.com>
                       (Dhillon Law) <DWarrington@dhillonlaw.com>
Cc:  Alina Habba,
Cc: Alina  Habba, Esq.
                  Esq. <ahabba@habbalaw.com>;
                       <ahabba@habbalaw.com>; Goelman,        Aitan <AGoelman@zuckerman.com>;
                                                     Goelman, Aitan <AGoelman@zuckerman.com>;
salzman@hellerhuron.com; Konkel,
salzman@hellerhuron.com;              Kaitlin <Kaitlin.Konkel@arnoldporter.com>;
                              Konkel, Kaitlin <Kaitlin.Konkel@arnoldporter.com>; Jeffress,
                                                                                 Jeffress, Amy
                                                                                           Amy

                                                                  1
                                                                  1
                  Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 12 of 31
<Amy.Jeffress@arnoldporter.com>; Katerberg,
<Amy.Jeffress@arnoldporter.com>;     Katerberg, Robert
                                                  Robert J.
                                                          J. <Robert.Katerberg@arnoldporter.com>;
                                                             <Robert.Katerberg@arnoldporter.com>; Michael   Madaio
                                                                                                    Michael Madaio
<mmadaio@habbalaw.com>;        Erin Potter (Dhillon Law)  <EPotter@dhillonlaw.com>
<mmadaio@habbalaw.com>; Erin Potter (Dhillon Law) <EPotter@dhillonlaw.com>
Subject: Re:
Subject: Re: Strzok
             Strzok v.
                    v. Garland 19-cv-2367 // Page
                       Garland 19-cv-2367    Page v.
                                                   v. DOJ  19-cv-3675 -- Subpoena
                                                      DOJ 19-cv-3675     Subpoena Served
                                                                                  Served on Donald J.
                                                                                         on Donald J. Trump
                                                                                                      Trump

<font color="red"
<font             size:"16"><strong>External Email</strong></font>
      color="red" size:"16"><strong>External Email</strong></font>

Dave,
Dave,

Can you confirm
Can you         May 24?
        confirm May 24?

Thanks,
Thanks,
Chris
Chris

>> On   May 4,
    On May    4, 2023,
                  2023, at   11:32 AM,
                          at 11:32    AM, David
                                           David Warrington     (Dhillon Law)
                                                  Warrington (Dhillon            <DWarrington@dhillonlaw.com> wrote:
                                                                           Law) <DWarrington@dhillonlaw.com>            wrote:
>>
>>
>> EXTERNAL
    EXTERNAL
>>
>> Happens
    Happens to  to all
                   all of
                       of us.   I'll keep
                          us. I'll        you posted.
                                     keep you  posted.
>>
>> David
    David A.A. Warrington
               Warrington |I Partner
                                  Partner |I DHILLON
                                              DHILLON LAWLAW GROUP
                                                              GROUP
>>
>> 2121    Eisenhower Avenue,
    2121 Eisenhower        Avenue, Suite
                                       Suite 608
                                             608
>> Alexandria,
    Alexandria, VA VA 22314
                       22314
>> Direct:
    Direct:
>> Mobile:
    Mobile:
>>
>> SAN
    SAN FRANCISCO        ADDRESS:
         FRANCISCO ADDRESS:
>> 177
    177 Post
         Post Street,
               Street, Suite
                         Suite 700
                                 700
>> San
    San Francisco,
         Francisco, California
                       California 94108
                                     94108
>> Phone:
    Phone: 415.433.1700
             415.433.1700|I Fax:   Fax: 415.520.6593
                                        415.520.6593 *Admitted
                                                         *Admitted Only
                                                                     Only in   Virginia and
                                                                            in Virginia and
>> Washington,
    Washington, D.C.D.C.
>>
>> STATEMENT
    STATEMENT OF    OF CONFIDENTIALITY
                        CONFIDENTIALITY &       & DISCLAIMER:
                                                  DISCLAIMER: The The information
                                                                       information contained
                                                                                      contained inin this
                                                                                                     this email  message is
                                                                                                          email message        attorney
                                                                                                                            is attorney
 privileged
 privileged andand confidential,      intended only
                    confidential, intended             for the
                                                 only for  the use
                                                               use of  the individual
                                                                    of the  individual or
                                                                                        or entity named above.
                                                                                           entity named            If the
                                                                                                           above. If  the reader
                                                                                                                          reader ofof this
                                                                                                                                      this
 message
 message is     not the
             is not  the intended
                          intended recipient,      you are
                                       recipient, you   are hereby
                                                            hereby notified
                                                                     notified that
                                                                               that any
                                                                                    any dissemination,
                                                                                         dissemination, distribution
                                                                                                           distribution or
                                                                                                                         or copy
                                                                                                                             copy of  this email
                                                                                                                                   of this email
 is strictly prohibited.
 is strictly prohibited. If  If you
                                you have
                                      have received   this email
                                            received this  email in  error, please
                                                                  in error,          notify us
                                                                             please notify      immediately by
                                                                                            us immediately    by calling  (415) 433-1700
                                                                                                                  calling (415)  433-1700 and
                                                                                                                                            and
 delete   the message.
 delete the    message. Thank
                            Thank you.you.
>>
>> -----Original   Message-----
        Original Message
>> From:
    From: MacColl,      Christopher <CMacColl@zuckerman.com>
            MacColl, Christopher        <CMacColl@zuckerman.com>
>> Sent:
    Sent: Thursday,
           Thursday, MayMay 4,  4, 2023  11:31 AM
                                   2023 11:31    AM
>> To:
    To: David
        David Warrington
                 Warrington (Dhillon
                                 (Dhillon Law)   <DWarrington@dhillonlaw.com>
                                           Law) <DWarrington@dhillonlaw.com>
>> Cc:
    Cc: Alina Habba, Esq. <ahabba@habbalaw.com>; Goelman,
        Alina  Habba,    Esq.   <ahabba@habbalaw.com>;                        Aitan
                                                                 Goelman, Aitan
>> <AGoelman@zuckerman.com>;
    <AGoelman@zuckerman.com>; salzman@hellerhuron.com;
                                             salzman@hellerhuron.com; Konkel,  Konkel, Kaitlin
                                                                                        Kaitlin
>> <Kaitlin.Konkel@arnoldporter.com>;
    <Kaitlin.Konkel@arnoldporter.com>; Jeffress,   Jeffress, Amy
                                                             Amy
>> <Amy.Jeffress@arnoldporter.com>;
    <Amy.Jeffress@arnoldporter.com>; Katerberg,   Katerberg, Robert
                                                               Robert J.J.
>> <Robert.Katerberg@arnoldporter.com>;
    <Robert.Katerberg@arnoldporter.com>; Michael        Michael Madaio
                                                                 Madaio
>> <mmadaio@habbalaw.com>;
    <mmadaio@habbalaw.com>; Erin           Erin Potter
                                                Potter (Dhillon
                                                        (Dhillon Law)
                                                                 Law)
>> <EPotter@dhillonlaw.com>
    <EPotter@dhillonlaw.com>
>> Subject:
    Subject: RE:   Strzok v.
               RE: Strzok   v. Garland     19-cv-2367 // Page
                                Garland 19-cv-2367        Page v.
                                                                v. DOJ
                                                                   DOJ 19-cv-3675
                                                                         19-cv-3675 --
>> Subpoena
    Subpoena Served
                 Served on on Donald
                                Donald J.J. Trump
                                            Trump

                                                                        2
                                                                        2
                  Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 13 of 31

>>
>> <font
   <font color="red"      size:"16"><strong>External Email</strong></font>
           color="red" size:"16"><strong>External            Email</strong></font>
>>
>> That
   That sent
          sent prematurely.
                prematurely. Was Was supposed
                                       supposed to   to end
                                                         end with
                                                              with "work   for them."
                                                                   "work for   them."
>>
>> Chris
   Chris
>>
>> -----Original   Message-----
        Original Message
>> From:
   From: MacColl,      Christopher
            MacColl, Christopher
>> Sent:
   Sent: Thursday,
           Thursday, MayMay 4,4, 2023  11:30 AM
                                 2023 11:30     AM
>> To:
   To: 'David    Warrington (Dhillon
        'David Warrington       (Dhillon Law)'    <DWarrington@dhillonlaw.com>
                                          Law)' <DWarrington@dhillonlaw.com>
>> Cc:  Alina Habba,
   Cc: Alina   Habba, Esq.
                        Esq. <ahabba@habbalaw.com>;
                              <ahabba@habbalaw.com>; Goelman,                Aitan
                                                                 Goelman, Aitan
>> <AGoelman@zuckerman.com>;
   <AGoelman@zuckerman.com>; salzman@hellerhuron.com;
                                           salzman@hellerhuron.com; Konkel,   Konkel, Kaitlin
                                                                                        Kaitlin
>> <Kaitlin.Konkel@arnoldporter.com>;
   <Kaitlin.Konkel@arnoldporter.com>; Jeffress,    Jeffress, Amy
                                                              Amy
>> <Amy.Jeffress@arnoldporter.com>;
   <Amy.Jeffress@arnoldporter.com>; Katerberg,   Katerberg, Robert
                                                               Robert J.
                                                                       J.
>> <Robert.Katerberg@arnoldporter.com>;
   <Robert.Katerberg@arnoldporter.com>; Michael        Michael Madaio
                                                                 Madaio
>> <mmadaio@habbalaw.com>;
   <mmadaio@habbalaw.com>; Erin          Erin Potter
                                               Potter (Dhillon
                                                        (Dhillon Law)
                                                                 Law)
>> <EPotter@dhillonlaw.com>
   <EPotter@dhillonlaw.com>
>> Subject:
   Subject: RE:    Strzok v.
               RE: Strzok  v. Garland   19-cv-2367 // Page
                              Garland 19-cv-2367          Page v.
                                                                v. DOJ
                                                                   DOJ 19-cv-3675
                                                                        19-cv-3675 --
>> Subpoena
   Subpoena Served
                 Served on
                         on Donald
                              Donald J.J. Trump
                                          Trump
>>
>> Thanks.
   Thanks. Please
               Please let
                       let us
                           us know
                               know what     President Trump's
                                      what President       Trump's request
                                                                    request is   regarding location
                                                                              is regarding   location as
                                                                                                       as well.
                                                                                                          well. We
                                                                                                                 We understand     there may
                                                                                                                      understand there   may
 be
 be atypical
     atypical considerations
                considerations on     that front.
                                  on that   front.
>>
>> The
   The Defendants
         Defendants havehave had
                               had about    ten lawyers
                                    about ten    lawyers whowho have
                                                                 have attended
                                                                       attended depositions
                                                                                   depositions in    this matter
                                                                                                  in this matter atat different
                                                                                                                      different points,
                                                                                                                                points, and
                                                                                                                                        and
 they've indicated
they've                that they
           indicated that    they expect    the former
                                    expect the    former president's     schedule to
                                                            president's schedule    to drive  the date.
                                                                                       drive the          In light
                                                                                                   date. In  light of
                                                                                                                   of that,
                                                                                                                      that, our strong
                                                                                                                            our strong
 expectation
 expectation is     that DOJ
                 is that DOJ will
                               will be able to
                                    be able   to make
                                                 make whatever
                                                          whatever date
                                                                    date and    time works
                                                                           and time           for the
                                                                                      works for   the Plaintiffs
                                                                                                       Plaintiffs and  President Trump
                                                                                                                  and President   Trump
>>
>> -----Original   Message-----
        Original Message
>> From:
   From: David
            David Warrington
                    Warrington (Dhillon
                                  (Dhillon Law)     <DWarrington@dhillonlaw.com>
                                             Law) <DWarrington@dhillonlaw.com>
>> Sent:
   Sent: Thursday,
           Thursday, MayMay 4,4, 2023  11:16 AM
                                 2023 11:16     AM
>> To:
   To: MacColl,
        MacColl, Christopher
                    Christopher <CMacColl@zuckerman.com>
                                   <CMacColl@zuckerman.com>
>> Cc:  Alina Habba,
   Cc: Alina   Habba, Esq.
                        Esq. <ahabba@habbalaw.com>;
                              <ahabba@habbalaw.com>; Goelman,                Aitan
                                                                 Goelman, Aitan
>> <AGoelman@zuckerman.com>;
   <AGoelman@zuckerman.com>; salzman@hellerhuron.com;
                                           salzman@hellerhuron.com; Konkel,   Konkel, Kaitlin
                                                                                        Kaitlin
>> <Kaitlin.Konkel@arnoldporter.com>;
   <Kaitlin.Konkel@arnoldporter.com>; Jeffress,    Jeffress, Amy
                                                              Amy
>> <Amy.Jeffress@arnoldporter.com>;
   <Amy.Jeffress@arnoldporter.com>; Katerberg,   Katerberg, Robert
                                                               Robert J.
                                                                       J.
>> <Robert.Katerberg@arnoldporter.com>;
   <Robert.Katerberg@arnoldporter.com>; Michael        Michael Madaio
                                                                 Madaio
>> <mmadaio@habbalaw.com>;
   <mmadaio@habbalaw.com>; Erin          Erin Potter
                                               Potter (Dhillon
                                                        (Dhillon Law)
                                                                 Law)
>> <EPotter@dhillonlaw.com>
   <EPotter@dhillonlaw.com>
>> Subject:
   Subject: RE:    Strzok v.
               RE: Strzok  v. Garland   19-cv-2367 // Page
                              Garland 19-cv-2367          Page v.
                                                                v. DOJ
                                                                   DOJ 19-cv-3675
                                                                        19-cv-3675 --
>> Subpoena
   Subpoena Served
                 Served on
                         on Donald
                              Donald J.J. Trump
                                          Trump
>>
>>
>> EXTERNAL
    EXTERNAL
>>
>> Ok,  let me
   Ok, let   me continue
                 continue to to work
                                work with    President Trump's
                                       with President      Trump's scheduler
                                                                    scheduler and     the DOJ
                                                                                 and the  DOJ toto confirm   that date
                                                                                                   confirm that    date and  time.
                                                                                                                         and time.
>>
>> David
   David A. A. Warrington
               Warrington |I Partner
                                Partner |I DHILLON
                                           DHILLON LAW   LAW GROUP
                                                               GROUP
>>
>> 2121    Eisenhower Avenue,
   2121 Eisenhower       Avenue, Suite
                                     Suite 608
                                           608
>> Alexandria,
   Alexandria, VA  VA 22314
                      22314
>> Direct:
   Direct:

                                                                       3
                                                                       3
                  Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 14 of 31

>> Mobile:
    Mobile:
>>
>> SAN
    SAN FRANCISCO        ADDRESS:
          FRANCISCO ADDRESS:
>> 177
    177 Post
         Post Street,
                Street, Suite
                         Suite 700
                                700
>> San
    San Francisco,
         Francisco, California
                      California 94108
                                   94108
>> Phone:
    Phone: 415.433.1700
              415.433.1700|I Fax:Fax: 415.520.6593
                                       415.520.6593 *Admitted
                                                          *Admitted Only
                                                                      Only in   Virginia and
                                                                             in Virginia and
>> Washington,
    Washington, D.C. D.C.
>>
>> STATEMENT
    STATEMENT OF     OF CONFIDENTIALITY
                        CONFIDENTIALITY &       & DISCLAIMER:
                                                   DISCLAIMER: The The information
                                                                        information contained
                                                                                       contained inin this
                                                                                                      this email  message is
                                                                                                           email message        attorney
                                                                                                                             is attorney
 privileged
 privileged and and confidential,    intended only
                     confidential, intended             for the
                                                  only for  the use
                                                                use of  the individual
                                                                     of the  individual or
                                                                                         or entity named above.
                                                                                            entity named            If the
                                                                                                            above. If  the reader
                                                                                                                           reader ofof this
                                                                                                                                       this
 message
 message is      not the
              is not the intended
                          intended recipient,
                                      recipient, youyou are
                                                         are hereby
                                                             hereby notified
                                                                      notified that
                                                                                that any
                                                                                     any dissemination,
                                                                                          dissemination, distribution
                                                                                                            distribution or
                                                                                                                          or copy
                                                                                                                              copy of  this email
                                                                                                                                    of this email
 is strictly prohibited.
 is strictly  prohibited. IfIf you
                               you have
                                    have received      this email
                                            received this   email in  error, please
                                                                   in error,          notify us
                                                                              please notify      immediately by
                                                                                             us immediately    by calling  (415) 433-1700
                                                                                                                   calling (415)  433-1700 and
                                                                                                                                             and
 delete
 delete thethe message.
                message. Thank
                            Thank you.
                                    you.
>>
>> -----Original    Message-----
        Original Message
>> From:
    From: MacColl,      Christopher <CMacColl@zuckerman.com>
             MacColl, Christopher      <CMacColl@zuckerman.com>
>> Sent:
    Sent: Thursday,
            Thursday, May
                        May 4, 4, 2023   11:09 AM
                                  2023 11:09     AM
>> To:
    To: David
        David Warrington
                 Warrington (Dhillon
                                (Dhillon Law)     <DWarrington@dhillonlaw.com>
                                           Law) <DWarrington@dhillonlaw.com>
>> Cc:  Alina Habba,
    Cc: Alina   Habba, Esq.
                         Esq. <ahabba@habbalaw.com>;
                               <ahabba@habbalaw.com>; Goelman,                 Aitan
                                                                  Goelman, Aitan
>> <AGoelman@zuckerman.com>;
    <AGoelman@zuckerman.com>; salzman@hellerhuron.com;
                                              salzman@hellerhuron.com; Konkel,  Konkel, Kaitlin
                                                                                         Kaitlin
>> <Kaitlin.Konkel@arnoldporter.com>;
    <Kaitlin.Konkel@arnoldporter.com>; Jeffress,    Jeffress, Amy
                                                              Amy
>> <Amy.Jeffress@arnoldporter.com>;
    <Amy.Jeffress@arnoldporter.com>; Katerberg,    Katerberg, Robert
                                                                Robert J.J.
>> <Robert.Katerberg@arnoldporter.com>;
    <Robert.Katerberg@arnoldporter.com>; Michael         Michael Madaio
                                                                  Madaio
>> <mmadaio@habbalaw.com>;
    <mmadaio@habbalaw.com>; Erin           Erin Potter
                                                Potter (Dhillon
                                                         (Dhillon Law)
                                                                  Law)
>> <EPotter@dhillonlaw.com>
    <EPotter@dhillonlaw.com>
>> Subject:
    Subject: RE:    Strzok v.
                RE: Strzok  v. Garland    19-cv-2367 // Page
                               Garland 19-cv-2367          Page v.
                                                                 v. DOJ
                                                                    DOJ 19-cv-3675
                                                                          19-cv-3675 --
>> Subpoena
    Subpoena Served
                  Served onon Donald
                               Donald J. J. Trump
                                            Trump
>>
>> <font
    <font color="red"      size:"16"><strong>External Email</strong></font>
            color="red" size:"16"><strong>External            Email</strong></font>
>>
>> Hi
    Hi Dave,
       Dave,
>>
>> Yes,
    Yes, II think
            think the
                   the afternoon
                       afternoon of  of the
                                        the 24th
                                              24th would
                                                     would work   for us.
                                                             work for  us.
>>
>> Chris
    Chris
>>
>> -----Original    Message-----
        Original Message
>> From:
    From: David
             David Warrington
                    Warrington (Dhillon
                                   (Dhillon Law)     <DWarrington@dhillonlaw.com>
                                               Law) <DWarrington@dhillonlaw.com>
>> Sent:
    Sent: Wednesday,
            Wednesday, May  May 3,3, 2023
                                     2023 3:40     PM
                                             3:40 PM
>> To:
    To: MacColl,
        MacColl, Christopher
                     Christopher <CMacColl@zuckerman.com>
                                    <CMacColl@zuckerman.com>
>> Cc:  Alina Habba,
    Cc: Alina   Habba, Esq.
                         Esq. <ahabba@habbalaw.com>;
                               <ahabba@habbalaw.com>; Goelman,                 Aitan
                                                                  Goelman, Aitan
>> <AGoelman@zuckerman.com>;
    <AGoelman@zuckerman.com>; salzman@hellerhuron.com;
                                              salzman@hellerhuron.com; Konkel,  Konkel, Kaitlin
                                                                                         Kaitlin
>> <Kaitlin.Konkel@arnoldporter.com>;
    <Kaitlin.Konkel@arnoldporter.com>; Jeffress,    Jeffress, Amy
                                                              Amy
>> <Amy.Jeffress@arnoldporter.com>;
    <Amy.Jeffress@arnoldporter.com>; Katerberg,    Katerberg, Robert
                                                                Robert J.J.
>> <Robert.Katerberg@arnoldporter.com>;
    <Robert.Katerberg@arnoldporter.com>; Michael         Michael Madaio
                                                                  Madaio
>> <mmadaio@habbalaw.com>;
    <mmadaio@habbalaw.com>; Erin           Erin Potter
                                                Potter (Dhillon
                                                         (Dhillon Law)
                                                                  Law)
>> <EPotter@dhillonlaw.com>
    <EPotter@dhillonlaw.com>
>> Subject:
    Subject: RE:    Strzok v.
                RE: Strzok  v. Garland    19-cv-2367 // Page
                               Garland 19-cv-2367          Page v.
                                                                 v. DOJ
                                                                    DOJ 19-cv-3675
                                                                          19-cv-3675 --
>> Subpoena
    Subpoena Served
                  Served onon Donald
                               Donald J. J. Trump
                                            Trump
>>
>>
>> EXTERNAL
    EXTERNAL

                                                                        4
                                                                        4
                  Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 15 of 31

>>
>> Chris,
    Chris, still
            still working
                  working with    the President's
                            with the   President's schedule,
                                                     schedule, but
                                                                 but would    the afternoon
                                                                      would the    afternoon of   the 24th
                                                                                               of the  24th work
                                                                                                             work on     your end?
                                                                                                                    on your    end?
>>
>> David
    David A.A. Warrington
                Warrington |I Partner
                                 Partner |I DHILLON
                                             DHILLON LAW LAW GROUP
                                                              GROUP
>>
>> 2121    Eisenhower Avenue,
    2121 Eisenhower        Avenue, Suite
                                      Suite 608
                                            608
>> Alexandria,
    Alexandria, VA  VA 22314
                       22314
>> Direct:
    Direct:
>> Mobile:
    Mobile:
>>
>> SAN
    SAN FRANCISCO        ADDRESS:
         FRANCISCO ADDRESS:
>> 177
    177 Post
         Post Street,
                Street, Suite
                         Suite 700
                                700
>> San
    San Francisco,
         Francisco, California
                       California 94108
                                   94108
>> Phone:
    Phone: 415.433.1700
              415.433.1700|I Fax:Fax: 415.520.6593
                                       415.520.6593 *Admitted
                                                         *Admitted Only
                                                                     Only in   Virginia and
                                                                            in Virginia and
>> Washington,
    Washington, D.C. D.C.
>>
>> STATEMENT
    STATEMENT OF     OF CONFIDENTIALITY
                        CONFIDENTIALITY &      & DISCLAIMER:
                                                  DISCLAIMER: The The information
                                                                       information contained
                                                                                      contained in in this
                                                                                                      this email  message is
                                                                                                           email message         attorney
                                                                                                                              is attorney
 privileged
 privileged andand confidential,     intended only
                     confidential, intended            for the
                                                 only for  the use
                                                               use of  the individual
                                                                    of the  individual or
                                                                                        or entity  named above.
                                                                                           entity named     above. IfIf the
                                                                                                                        the reader
                                                                                                                            reader ofof this
                                                                                                                                        this
 message
 message is      not the
             is not  the intended
                          intended recipient,      you are
                                      recipient, you    are hereby
                                                            hereby notified
                                                                     notified that
                                                                               that any
                                                                                     any dissemination,
                                                                                         dissemination, distribution
                                                                                                            distribution oror copy
                                                                                                                               copy of  this email
                                                                                                                                     of this email
 is strictly prohibited.
 is strictly  prohibited. IfIf you
                               you have
                                    have received     this email
                                           received this   email in  error, please
                                                                  in error,          notify us
                                                                             please notify      immediately by
                                                                                            us immediately     by calling   (415) 433-1700
                                                                                                                   calling (415)   433-1700 and
                                                                                                                                              and
 delete   the message.
 delete the     message. Thank
                            Thank you.
                                    you.
>>
>> -----Original    Message-----
        Original Message
>> From:
    From: MacColl,      Christopher <CMacColl@zuckerman.com>
            MacColl, Christopher       <CMacColl@zuckerman.com>
>> Sent:
    Sent: Wednesday,
           Wednesday, May   May 3,3, 2023   9:43 AM
                                     2023 9:43    AM
>> To:
    To: David
        David Warrington
                  Warrington (Dhillon
                                (Dhillon Law)    <DWarrington@dhillonlaw.com>
                                          Law) <DWarrington@dhillonlaw.com>
>> Cc:  Alina Habba,
    Cc: Alina   Habba, Esq.
                         Esq. <ahabba@habbalaw.com>;
                               <ahabba@habbalaw.com>; Goelman,                Aitan
                                                                 Goelman, Aitan
>> <AGoelman@zuckerman.com>;
    <AGoelman@zuckerman.com>; salzman@hellerhuron.com;
                                             salzman@hellerhuron.com; Konkel,  Konkel, Kaitlin
                                                                                        Kaitlin
>> <Kaitlin.Konkel@arnoldporter.com>;
    <Kaitlin.Konkel@arnoldporter.com>; Jeffress,   Jeffress, Amy
                                                             Amy
>> <Amy.Jeffress@arnoldporter.com>;
    <Amy.Jeffress@arnoldporter.com>; Katerberg,   Katerberg, Robert
                                                               Robert J.J.
>> <Robert.Katerberg@arnoldporter.com>;
    <Robert.Katerberg@arnoldporter.com>; Michael        Michael Madaio
                                                                 Madaio
>> <mmadaio@habbalaw.com>
    <mmadaio@habbalaw.com>
>> Subject:
    Subject: RE:    Strzok v.
               RE: Strzok   v. Garland   19-cv-2367 // Page
                               Garland 19-cv-2367         Page v.
                                                                v. DOJ
                                                                   DOJ 19-cv-3675
                                                                         19-cv-3675 --
>> Subpoena
    Subpoena Served
                  Served onon Donald
                               Donald J.J. Trump
                                           Trump
>>
>> <font
    <font color="red"      size:"16"><strong>External Email</strong></font>
           color="red" size:"16"><strong>External            Email</strong></font>
>>
>> Hi
    Hi Dave,
       Dave,
>>
>> Thanks
    Thanks forfor the
                   the call
                       call on  Monday. You
                            on Monday.      You were
                                                  were checking
                                                         checking on   the 22nd
                                                                   on the         through 26th
                                                                            22nd through           and were
                                                                                             26th and          hoping to
                                                                                                        were hoping      to know
                                                                                                                            know what
                                                                                                                                   what dates
                                                                                                                                          dates
 would
 would work
          work by    Tuesday (yesterday).
                  by Tuesday    (yesterday). AnyAny progress?
                                                      progress?
>>
>> Thanks,
    Thanks,
>> Chris
    Chris
>>
>> -----Original    Message-----
        Original Message
>> From:
    From: David
            David Warrington
                     Warrington (Dhillon
                                   (Dhillon Law)    <DWarrington@dhillonlaw.com>
                                              Law) <DWarrington@dhillonlaw.com>
>> Sent:
    Sent: Saturday,
           Saturday, April
                        April 29,
                               29, 2023
                                   2023 5:10    PM
                                          5:10 PM
>> To:
    To: MacColl,
        MacColl, Christopher
                     Christopher <CMacColl@zuckerman.com>
                                    <CMacColl@zuckerman.com>
>> Cc:  Alina Habba,
    Cc: Alina   Habba, Esq.
                         Esq. <ahabba@habbalaw.com>;
                               <ahabba@habbalaw.com>; Goelman,                Aitan
                                                                 Goelman, Aitan
>> <AGoelman@zuckerman.com>;
    <AGoelman@zuckerman.com>; salzman@hellerhuron.com;
                                             salzman@hellerhuron.com; Konkel,  Konkel, Kaitlin
                                                                                        Kaitlin
>> <Kaitlin.Konkel@arnoldporter.com>;
    <Kaitlin.Konkel@arnoldporter.com>; Jeffress,   Jeffress, Amy
                                                             Amy

                                                                         5
                                                                         5
                  Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 16 of 31

>> <Amy.Jeffress@arnoldporter.com>;
    <Amy.Jeffress@arnoldporter.com>; Katerberg, Katerberg, Robert
                                                             Robert J.J.
>> <Robert.Katerberg@arnoldporter.com>;
    <Robert.Katerberg@arnoldporter.com>; Michael      Michael Madaio
                                                               Madaio
>> <mmadaio@habbalaw.com>
    <mmadaio@habbalaw.com>
>> Subject:
    Subject: RE:   Strzok v.
               RE: Strzok  v. Garland   19-cv-2367 // Page
                              Garland 19-cv-2367        Page v.
                                                              v. DOJ
                                                                 DOJ 19-cv-3675
                                                                       19-cv-3675 --
>> Subpoena
    Subpoena Served
                 Served onon Donald
                              Donald J.J. Trump
                                          Trump
>>
>>
>> EXTERNAL
     EXTERNAL
>>
>> Hey
    Hey Chris,
         Chris,
>>
>> II was  hoping to
      was hoping    to have
                       have dates    yesterday but
                              dates yesterday         should have
                                                  but should  have them
                                                                    them Monday.
                                                                            Monday. I'll
                                                                                       I'll keep you posted.
                                                                                            keep you  posted.
>>
>> Thanks,
    Thanks,
>>
>> Dave
    Dave
>>
>> David
    David A.A. Warrington
               Warrington |I Partner
                                Partner |I DHILLON
                                            DHILLON LAWLAW GROUP
                                                            GROUP
>>
>> 2121    Eisenhower Avenue,
    2121 Eisenhower       Avenue, Suite
                                    Suite 608
                                           608
>> Alexandria,
    Alexandria, VAVA 22314
                      22314
>> Direct:
    Direct:
>> Mobile:
    Mobile:
>>
>> SAN
    SAN FRANCISCO       ADDRESS:
         FRANCISCO ADDRESS:
>> 177
    177 Post
         Post Street,
               Street, Suite
                        Suite 700
                               700
>> San
    San Francisco,
         Francisco, California
                      California 94108
                                  94108
>> Phone:
    Phone: 415.433.1700
             415.433.1700|I Fax:Fax: 415.520.6593
                                      415.520.6593 *Admitted
                                                       *Admitted Only
                                                                   Only in   Virginia and
                                                                          in Virginia and
>> Washington,
    Washington, D.C.D.C.
>>
>> STATEMENT
    STATEMENT OF   OF CONFIDENTIALITY
                       CONFIDENTIALITY &     & DISCLAIMER:
                                                DISCLAIMER: The The information
                                                                     information contained
                                                                                    contained inin this
                                                                                                   this email  message is
                                                                                                        email message        attorney
                                                                                                                          is attorney
 privileged
 privileged andand confidential,   intended only
                    confidential, intended           for the
                                               only for  the use
                                                             use of  the individual
                                                                  of the  individual or
                                                                                      or entity named above.
                                                                                         entity named            If the
                                                                                                         above. If  the reader
                                                                                                                        reader ofof this
                                                                                                                                    this
 message
 message is     not the
             is not the intended
                         intended recipient,     you are
                                     recipient, you   are hereby
                                                          hereby notified
                                                                   notified that
                                                                             that any
                                                                                  any dissemination,
                                                                                       dissemination, distribution
                                                                                                         distribution or
                                                                                                                       or copy
                                                                                                                           copy of  this email
                                                                                                                                 of this email
 is strictly prohibited.
 is strictly prohibited. IfIf you
                              you have
                                   have received    this email
                                          received this  email in  error, please
                                                                in error,          notify us
                                                                           please notify      immediately by
                                                                                           us immediately   by calling  (415) 433-1700
                                                                                                                calling (415)  433-1700 and
                                                                                                                                          and
 delete   the message.
 delete the    message. Thank
                           Thank you.
                                   you.
>>
>> -----Original   Message-----
        Original Message
>> From:
    From: MacColl,     Christopher <CMacColl@zuckerman.com>
            MacColl, Christopher      <CMacColl@zuckerman.com>
>> Sent:
    Sent: Saturday,
           Saturday, April
                       April 29,
                              29, 2023
                                  2023 3:34   PM
                                         3:34 PM
>> To:
    To: David
        David Warrington
                Warrington (Dhillon
                               (Dhillon Law)   <DWarrington@dhillonlaw.com>
                                         Law) <DWarrington@dhillonlaw.com>
>> Cc:  Alina Habba,
    Cc: Alina  Habba, Esq.
                        Esq. <ahabba@habbalaw.com>;
                              <ahabba@habbalaw.com>; Goelman,               Aitan
                                                               Goelman, Aitan
>> <AGoelman@zuckerman.com>;
    <AGoelman@zuckerman.com>; salzman@hellerhuron.com;
                                           salzman@hellerhuron.com; Konkel,  Konkel, Kaitlin
                                                                                      Kaitlin
>> <Kaitlin.Konkel@arnoldporter.com>;
    <Kaitlin.Konkel@arnoldporter.com>; Jeffress, Jeffress, Amy
                                                           Amy
>> <Amy.Jeffress@arnoldporter.com>;
    <Amy.Jeffress@arnoldporter.com>; Katerberg, Katerberg, Robert
                                                             Robert J.J.
>> <Robert.Katerberg@arnoldporter.com>;
    <Robert.Katerberg@arnoldporter.com>; Michael      Michael Madaio
                                                               Madaio
>> <mmadaio@habbalaw.com>
    <mmadaio@habbalaw.com>
>> Subject:
    Subject: Re:
               Re: Strzok
                   Strzok v.
                           v. Garland
                              Garland 19-cv-2367
                                        19-cv-2367 // Page
                                                        Page v.
                                                              v. DOJ
                                                                 DOJ 19-cv-3675
                                                                       19-cv-3675 --
>> Subpoena
    Subpoena Served
                 Served onon Donald
                              Donald J.J. Trump
                                          Trump
>>
>> <font
    <font color="red"     size:"16"><strong>External Email</strong></font>
           color="red" size:"16"><strong>External          Email</strong></font>
>>
>> Hi
    Hi Dave,
       Dave,

                                                                       6
                                                                       6
                 Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 17 of 31

>>
>> Any
    Any update?
          update?
>>
>> Thanks,
    Thanks,
>> Chris
    Chris
>>
>> On    Apr 26,
    On Apr    26, 2023,   at 1:55
                   2023, at  1:55 PM,
                                   PM, MacColl,
                                         MacColl, Christopher
                                                    Christopher <CMacColl@zuckerman.com>
                                                                  <CMacColl@zuckerman.com> wrote:    wrote:
>>
>>
>> Hi
    Hi Dave,
        Dave,
>>
>> Thanks
    Thanks forfor the
                  the email.    For Mr.
                       email. For    Mr. Strzok's
                                          Strzok’s team,
                                                   team, we    have aa conflict
                                                           we have     conflict on
                                                                                on May   19, and
                                                                                   May 19,    and aa six
                                                                                                     six week trial starting
                                                                                                         week trial starting the
                                                                                                                             the week
                                                                                                                                 week of
                                                                                                                                      of
 May 29,
May     29, so
             so we
                we need
                     need toto find
                               find aa date
                                       date before   then.
                                             before then.
>>
>> II think
      think we
             we have
                 have a a reasonable
                          reasonable level
                                        level of flexibility between
                                              of flexibility between MayMay 88 and
                                                                               and 26.
                                                                                    26.
>>
>> Thanks,
    Thanks,
>> Chris
    Chris
>>
>> From:
    From: David
            David Warrington
                    Warrington (Dhillon
                                   (Dhillon Law)   <DWarrington@dhillonlaw.com>
                                             Law) <DWarrington@dhillonlaw.com>
>> Sent:
    Sent: Wednesday,
           Wednesday, April April 26,
                                  26, 2023   10:33 AM
                                       2023 10:33   AM
>> To:
    To: MacColl,
         MacColl, Christopher
                     Christopher <CMacColl@zuckerman.com>
                                    <CMacColl@zuckerman.com>
>> Cc:   Alina Habba,
    Cc: Alina   Habba, Esq.
                         Esq. <ahabba@habbalaw.com>;
                               <ahabba@habbalaw.com>; Goelman,              Aitan
                                                                Goelman, Aitan
>> <AGoelman@zuckerman.com>;
    <AGoelman@zuckerman.com>; salzman@hellerhuron.com;
                                            salzman@hellerhuron.com; Konkel, Konkel, Kaitlin
                                                                                      Kaitlin
>> <Kaitlin.Konkel@arnoldporter.com>;
    <Kaitlin.Konkel@arnoldporter.com>; Jeffress,  Jeffress, Amy
                                                            Amy
>> <Amy.Jeffress@arnoldporter.com>;
    <Amy.Jeffress@arnoldporter.com>; Katerberg, Katerberg, Robert
                                                              Robert J.
                                                                      J.
>> <Robert.Katerberg@arnoldporter.com>;
    <Robert.Katerberg@arnoldporter.com>; Michael      Michael Madaio
                                                                Madaio
>> <mmadaio@habbalaw.com>
    <mmadaio@habbalaw.com>
>> Subject:
    Subject: RE:    Strzok v.
               RE: Strzok   v. Garland   19-cv-2367 // Page
                               Garland 19-cv-2367       Page v.v. DOJ
                                                                  DOJ 19-cv-3675
                                                                       19-cv-3675 --
>> Subpoena
    Subpoena Served
                 Served on on Donald
                               Donald J.J. Trump
                                           Trump
>>
>> EXTERNAL
    EXTERNAL
>> Chris,
    Chris,
>>
>> II am
      am working
           working on    the logistics
                     on the   logistics and  timing issues.
                                        and timing   issues. II hope
                                                                hope to
                                                                      to have  some things
                                                                         have some    things ironed
                                                                                              ironed out
                                                                                                       out and answers for
                                                                                                           and answers   for you
                                                                                                                             you tomorrow
                                                                                                                                 tomorrow
 or   Friday on
 or Friday        timing. Are
              on timing.    Are there
                                 there any
                                        any avoid
                                             avoid dates
                                                    dates on   your end?
                                                           on your  end?
>>
>> Thanks,
    Thanks,
>>
>> Dave
    Dave
>>
>> David
    David A.A. Warrington
               Warrington |I Partner
                                 Partner |I Dhillon
                                            Dhillon Law
                                                     Law Group
                                                           Group
>>
>> 2121    Eisenhower Avenue,
    2121 Eisenhower       Avenue, Suite
                                      Suite 608
                                            608
>> Alexandria,
    Alexandria, VA VA 22314
                       22314
>> Direct:
    Direct:
>> Mobile:
    Mobile:
>>
>> SAN
    SAN FRANCISCO        ADDRESS:
          FRANCISCO ADDRESS:
>> 177
    177 Post
          Post Street,
                Street, Suite
                         Suite 700
                                700
>> San
    San Francisco,
          Francisco, California
                      California 94108
                                   94108
>> Phone:
    Phone: 415.433.1700
              415.433.1700|I Fax:Fax: 415.520.6593
                                       415.520.6593 *Admitted
                                                       *Admitted Only
                                                                    Only in  Virginia and
                                                                          in Virginia and

                                                                    7
                                                                    7
                   Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 18 of 31

>> Washington,
    Washington, D.C. D.C.
>>
>> STATEMENT
    STATEMENT OF    OF CONFIDENTIALITY
                         CONFIDENTIALITY &       & DISCLAIMER:
                                                    DISCLAIMER: TheThe information
                                                                         information contained
                                                                                         contained in in this
                                                                                                         this email    message is
                                                                                                              email message           attorney
                                                                                                                                   is attorney
 privileged
 privileged andand confidential,     intended only
                    confidential, intended              for the
                                                  only for  the use
                                                                use of   the individual
                                                                     of the   individual oror entity  named above.
                                                                                              entity named      above. If If the
                                                                                                                             the reader
                                                                                                                                 reader ofof this
                                                                                                                                             this
 message
 message is     not the
             is not  the intended
                          intended recipient,       you are
                                       recipient, you    are hereby
                                                              hereby notified
                                                                      notified that
                                                                                  that any
                                                                                       any dissemination,
                                                                                            dissemination, distribution
                                                                                                                distribution or or copy
                                                                                                                                    copy of  this email
                                                                                                                                          of this  email
 is strictly prohibited.
 is strictly prohibited. If  If you
                                you have
                                     have received     this email
                                             received this  email in  error, please
                                                                   in error,            notify us
                                                                               please notify       immediately by
                                                                                                us immediately      by calling   (415) 433-1700
                                                                                                                       calling (415)    433-1700 and and
 delete   the message.
 delete the     message. Thank
                             Thank you.
                                     you.
>>
>> From:
    From: MacColl,      Christopher
            MacColl, Christopher
>> <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com>>
    <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com>>
>> Sent:
    Sent: Monday,
           Monday, April
                       April 24,
                               24, 2023
                                   2023 3:17     PM
                                           3:17 PM
>> To:
    To: David
        David Warrington
                 Warrington (Dhillon
                                 (Dhillon Law)
                                            Law)
>> <DWarrington@dhillonlaw.com<mailto:DWarrington@dhillonlaw.com>>
    <DWarrington@dhillonlaw.com<mailto:DWarrington@dhillonlaw.com>>
>> Cc:  Alina Habba,
    Cc: Alina   Habba, Esq.
                         Esq.
>> <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com>>;
    <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com>>; Goelman,                    Goelman, Aitan
                                                                                               Aitan
>> <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com>>;
    <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com>>;
>> salzman@hellerhuron.com<mailto:salzman@hellerhuron.com>;
    salzman@hellerhuron.com<mailto:salzman@hellerhuron.com>; Konkel,                  Konkel,
>> Kaitlin
    Kaitlin
>> <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.co
    <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.co
>> m>>;
    m>>; Jeffress,
           Jeffress, Amy
                      Amy
>> <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com>>;
    <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com>>;
>> Katerberg,
    Katerberg, Robert
                  Robert J. J.
>> <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporte
    <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporte
>> r.com>>;
    r.com>>; Michael
                Michael Madaio
                           Madaio
>> <mmadaio@habbalaw.com<mailto:mmadaio@habbalaw.com>>
    <mmadaio@habbalaw.com<mailto:mmadaio@habbalaw.com>>
>> Subject:
    Subject: RE:   Strzok v.
               RE: Strzok    v. Garland    19-cv-2367 // Page
                                Garland 19-cv-2367         Page v.
                                                                 v. DOJ
                                                                    DOJ 19-cv-3675
                                                                          19-cv-3675 --
>> Subpoena
    Subpoena Served
                 Served on on Donald
                                Donald J. J. Trump
                                             Trump
>>
>>
>> External
    External Email
               Email
>> Hi
    Hi David,
       David,
>>
>> Can
    Can you
         you let
               let us
                   us know     President Trump's
                      know President         Trump’s logistical
                                                      logistical needs
                                                                  needs and     timing preferences?
                                                                          and timing     preferences? We  We have
                                                                                                               have been
                                                                                                                      been operating       under the
                                                                                                                              operating under      the
 assumption
 assumption that that April
                       April 28,
                               28, 2023
                                   2023 will
                                           will not
                                                not work
                                                     work based
                                                           based on   Alina’s statements
                                                                   on Alina's   statements on      April 5,
                                                                                               on April  5, but   that remains
                                                                                                            but that    remains the the operative,
                                                                                                                                        operative,
 noticed date.
noticed     date.
>>
>> Although
    Although you're
                you’re new
                         new to to this
                                   this matter,
                                         matter, please    understand that
                                                   please understand       that we   served this
                                                                                 we served   this subpoena
                                                                                                   subpoena by  by consent      through Attorney
                                                                                                                    consent through       Attorney
 Larry Rosen
Larry   Rosen in in November
                    November 2021. 2021. We  We deferred    the initially
                                                 deferred the   initially noticed
                                                                           noticed date
                                                                                     date in  January 2022
                                                                                           in January   2022 based
                                                                                                                based onon aa request    from DOJ,
                                                                                                                               request from      DOJ,
 which
 which we we understood
              understood was   was consulting
                                    consulting with     representatives for
                                                   with representatives      for President
                                                                                 President Trump,
                                                                                             Trump, andand we    then litigated
                                                                                                            we then     litigated aa motion
                                                                                                                                      motion to to quash
                                                                                                                                                   quash
 that took
that   took multiple
              multiple rounds
                         rounds of of briefing
                                       briefing over   the course
                                                  over the   course of
                                                                     of aa year
                                                                           year toto arrive
                                                                                     arrive at
                                                                                            at aa decision.
                                                                                                  decision. ItIt has
                                                                                                                 has been
                                                                                                                      been twotwo months
                                                                                                                                    months since
                                                                                                                                              since
 Judge Jackson
Judge    Jackson ruled
                    ruled (the
                            (the matter
                                  matter having
                                             having been   transferred to
                                                     been transferred     to her
                                                                              her with   President Trump's
                                                                                   with President    Trump’s consent
                                                                                                                 consent per     Rule 45(f))
                                                                                                                             per Rule  45(f)) that
                                                                                                                                               that aa
 two hour
two    hour deposition
              deposition could
                             could proceed.
                                    proceed. We  We are    hopeful that
                                                      are hopeful   that we we can
                                                                                can confirm
                                                                                     confirm aa date   so that
                                                                                                 date so   that we
                                                                                                                 we can     take this
                                                                                                                      can take    this short
                                                                                                                                       short
 deposition,
 deposition, with      its relatively
                 with its  relatively limited     scope. Look
                                        limited scope.           forward to
                                                          Look forward      to hearing
                                                                               hearing back     from you
                                                                                          back from    you about
                                                                                                            about dates.
                                                                                                                     dates.
>>
>> Thanks,
    Thanks,
>> Chris
    Chris
>>
>> From:
    From: MacColl,      Christopher
            MacColl, Christopher
>> <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com>>
    <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com>>
>> Sent:
    Sent: Wednesday,
           Wednesday, April April 19,
                                   19, 2023
                                        2023 3:40    PM
                                               3:40 PM
>> To:
    To: Michael
        Michael Madaio
                   Madaio <mmadaio@habbalaw.com<mailto:mmadaio@habbalaw.com>>
                               <mmadaio@habbalaw.com<mailto:mmadaio@habbalaw.com>>
>> Cc:  Alina Habba,
    Cc: Alina   Habba, Esq.
                         Esq.

                                                                           8
                                                                           8
                    Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 19 of 31

>> <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com>>;
   <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com>>;
>> DWarrington@dhillonlaw.com<mailto:DWarrington@dhillonlaw.com>;
   DWarrington@dhillonlaw.com<mailto:DWarrington@dhillonlaw.com>;
>> Goelman,
   Goelman, Aitan
                Aitan
>> <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com>>;
   <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com>>;
>> salzman@hellerhuron.com<mailto:salzman@hellerhuron.com>;
   salzman@hellerhuron.com<mailto:salzman@hellerhuron.com>; Konkel,                          Konkel,
>> Kaitlin
   Kaitlin
>> <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.co
   <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.co
>> m>>;
   m>>; Jeffress,
           Jeffress, Amy
                       Amy
>> <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com>>;
   <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com>>;
>> Katerberg,
   Katerberg, Robert
                  Robert J.  J.
>> <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporte
   <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporte
>> r.com>>
   r.com>>
>> Subject:
   Subject: Re:
              Re: Strzok
                    Strzok v. v. Garland
                                  Garland 19-cv-2367
                                              19-cv-2367 // Page
                                                               Page v. v. DOJ
                                                                          DOJ 19-cv-3675
                                                                                19-cv-3675 --
>> Subpoena
   Subpoena Served
                 Served on  on Donald
                                  Donald J. J. Trump
                                               Trump
>>
>> Michael,
   Michael,
>>
>> President
   President Trump
                Trump is   is certainly
                              certainly freefree toto change    lawyers and
                                                      change lawyers       and have
                                                                                 have whoever
                                                                                        whoever he  he wants    represent him.
                                                                                                       wants represent       him. It's
                                                                                                                                   It’s really
                                                                                                                                        really not  up to
                                                                                                                                                not up  to us
                                                                                                                                                           us
 in the slightest.
 in the  slightest.
>>
>> However,
   However, Alina
                Alina referred
                        referred to    to President
                                          President TrumpTrump on on our   April 5
                                                                      our April   5 call
                                                                                    call as
                                                                                          as “my
                                                                                             "my client,”
                                                                                                   client," noted    that “I
                                                                                                             noted that      represent the
                                                                                                                          "I represent    the president
                                                                                                                                               president in
                                                                                                                                                          in
 [his]
 [his] personal
       personal capacity,”
                   capacity," discussed            President Trump's
                                    discussed President        Trump’s likely
                                                                           likely desire
                                                                                   desire toto have
                                                                                               have her
                                                                                                      her present
                                                                                                          present at at this
                                                                                                                        this deposition,
                                                                                                                             deposition, and and discussed
                                                                                                                                                 discussed
 her availability
her   availability asas aa bar
                            bar to to holding
                                      holding thisthis deposition
                                                       deposition on      the noticed
                                                                      on the   noticed date
                                                                                          date (“the
                                                                                                ("the problem
                                                                                                       problem is     that actually
                                                                                                                   is that actually II am
                                                                                                                                       am unavailable.”).
                                                                                                                                            unavailable.").
 There’s been
There's     been nono indication
                       indication until until today
                                               today that
                                                        that you
                                                             you weren’t      representing him,
                                                                   weren't representing               and naturally,
                                                                                               him, and    naturally, we    understood that
                                                                                                                        we understood       that you
                                                                                                                                                 you were.
                                                                                                                                                      were.
>>
>> Chris
   Chris
>>
>> On   Apr 19,
   On Apr    19, 2023,
                  2023, at at 2:48     PM, Michael
                                2:48 PM,     Michael Madaio
                                                          Madaio <mmadaio@habbalaw.com<mailto:mmadaio@habbalaw.com>>
                                                                    <mmadaio@habbalaw.com<mailto:mmadaio@habbalaw.com>> wrote:                        wrote:
>>
>> EXTERNAL
   EXTERNAL
>> Also,
   Also, to
          to clarify,
              clarify, we
                        we never        stated that
                              never stated       that our
                                                       our office    represents Mr.
                                                            office represents       Mr. Trump
                                                                                         Trump in    this matter.
                                                                                                  in this matter. He He has
                                                                                                                         has been   represented by
                                                                                                                              been represented         the
                                                                                                                                                    by the
 DOJ as
DOJ       you are
       as you   are aware.
                     aware.
>>
>> MICHAEL
   MICHAEL T.   T. MADAIO,
                   MADAIO, ESQ.    ESQ.
>> Admitted
   Admitted to  to Practice
                    Practice in   in NJ,
                                     NJ, NY
                                          NY & & PA
                                                  PA
>>
>> 1430
   1430 US US Highway
               Highway 206,         Suite 240
                            206, Suite      240
>> Bedminster,
   Bedminster, New  New Jersey
                            Jersey 07921
                                       07921
>> Telephone:
   Telephone:
>> Facsimile:
   Facsimile: 908-450-1881
                 908-450-1881
>>
>> The
   The information
         information in   in this
                              this e-mail
                                     e-mail isis confidential
                                                 confidential and and may
                                                                        may bebe legally
                                                                                  legally privileged.   If you
                                                                                           privileged. If  you are    not the
                                                                                                                 are not  the intended     recipient, you
                                                                                                                               intended recipient,     you
 must not
must    not read,
             read, useuse oror disseminate
                                disseminate the    the information.     Although this
                                                        information. Although        this e-mail
                                                                                           e-mail and
                                                                                                   and any    attachments are
                                                                                                         any attachments       are believed
                                                                                                                                   believed to to be free of
                                                                                                                                                  be free of
 any  virus  or  other   defect      that  might     affect any   computer      system    into which   it is received
 any virus or other defect that might affect any computer system into which it is received and opened, it is the        and  opened,    it is the
 responsibility
 responsibility of     the recipient
                   of the    recipient to  to ensure
                                               ensure thatthat it
                                                               it is virus free
                                                                  is virus  free and
                                                                                  and nono responsibility
                                                                                            responsibility is   accepted by
                                                                                                             is accepted        Habba Madaio
                                                                                                                            by Habba    Madaio &  &
 Associates LLP
Associates           for any
               LLP for   any lossloss oror damage      arising in
                                           damage arising       in any
                                                                    any way    from its
                                                                         way from     its use.
                                                                                          use.
>>
>> -----Original   Message-----
        Original Message
>> From:
   From: Alina
            Alina Habba,
                   Habba, Esq. Esq.
>> <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com>>
   <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com>>
>> Sent:
   Sent: Wednesday,
           Wednesday, April  April 19,19, 2023     10:28 AM
                                           2023 10:28      AM
>> To:
   To: MacColl,
        MacColl, Christopher
                    Christopher

                                                                              9
                                                                              9
                 Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 20 of 31

>> <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com>>;
   <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com>>; Michael                    Michael
>> Madaio
   Madaio <mmadaio@habbalaw.com<mailto:mmadaio@habbalaw.com>>;
              <mmadaio@habbalaw.com<mailto:mmadaio@habbalaw.com>>;
>> DWarrington@dhillonlaw.com<mailto:DWarrington@dhillonlaw.com>
   DWarrington@dhillonlaw.com<mailto:DWarrington@dhillonlaw.com>
>> Cc:
   Cc: Goelman,      Aitan
        Goelman, Aitan
>> <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com>>;
   <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com>>;
>> salzman@hellerhuron.com<mailto:salzman@hellerhuron.com>;
   salzman@hellerhuron.com<mailto:salzman@hellerhuron.com>; Konkel,                Konkel,
>> Kaitlin
   Kaitlin
>> <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.co
   <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.co
>> m>>;
   m>>; Jeffress,
          Jeffress, Amy
                      Amy
>> <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com>>;
   <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com>>;
>> Katerberg,
   Katerberg, Robert
                  Robert J.
                          J.
>> <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporte
   <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporte
>> r.com>>
   r.com>>
>> Subject:
   Subject: RE:    Strzok v.
              RE: Strzok   v. Garland    19-cv-2367 // Page
                               Garland 19-cv-2367       Page v.v. DOJ
                                                                  DOJ 19-cv-3675
                                                                       19-cv-3675 --
>> Subpoena
   Subpoena Served
                 Served on
                         on Donald
                              Donald J. J. Trump
                                           Trump
>>
>> As
   As aa reminder
         reminder II amam on    trial until
                           on trial   until mid
                                            mid May.
                                                 May.
>>
 >A
>A
>> -----Original   Message-----
        Original Message
>> From:
   From: MacColl,      Christopher
           MacColl, Christopher
>> <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com>>
   <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com>>
>> Sent:
   Sent: Wednesday,
          Wednesday, AprilApril 19,
                                  19, 2023   10:26 AM
                                      2023 10:26    AM
>> To:
   To: Michael
        Michael Madaio
                   Madaio
>> <mmadaio@habbalaw.com<mailto:mmadaio@habbalaw.com>>;
   <mmadaio@habbalaw.com<mailto:mmadaio@habbalaw.com>>;
>> DWarrington@dhillonlaw.com<mailto:DWarrington@dhillonlaw.com>
   DWarrington@dhillonlaw.com<mailto:DWarrington@dhillonlaw.com>
>> Cc:
   Cc: Goelman,      Aitan
        Goelman, Aitan
>> <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com>>;
   <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com>>;
>> salzman@hellerhuron.com<mailto:salzman@hellerhuron.com>;
   salzman@hellerhuron.com<mailto:salzman@hellerhuron.com>; Konkel,                Konkel,
>> Kaitlin
   Kaitlin
>> <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.co
   <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.co
>> m>>;
   m>>; Jeffress,
          Jeffress, Amy
                      Amy
>> <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com>>;
   <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com>>;
>> Katerberg,
   Katerberg, Robert
                  Robert J.
                          J.
>> <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporte
   <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporte
>> r.com>>;
   r.com>>; Alina
               Alina Habba,
                       Habba, Esq.
                                Esq.
>> <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com>>
   <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com>>
>> Subject:
   Subject: RE:    Strzok v.
              RE: Strzok   v. Garland    19-cv-2367 // Page
                               Garland 19-cv-2367       Page v.v. DOJ
                                                                  DOJ 19-cv-3675
                                                                       19-cv-3675 --
>> Subpoena
   Subpoena Served
                 Served on
                         on Donald
                              Donald J. J. Trump
                                           Trump
>>
>> Thanks,
   Thanks, Michael.
              Michael.
>>
>> David,
   David, asas you
               you may
                     may know,
                          know, we      spoke with
                                    we spoke   with Michael
                                                     Michael and     Alina two
                                                                and Alina   two weeks
                                                                                weeks ago,
                                                                                        ago, on April 5.
                                                                                             on April 5. Our
                                                                                                          Our understanding
                                                                                                              understanding was  that
                                                                                                                             was that
 they  would    likely continue    representing    President   Trump    through   his deposition in this matter, and
they would likely continue representing President Trump through his deposition in this matter, and we discussed the  we  discussed the
 possibility
 possibility ofof conducting
                  conducting thisthis deposition
                                      deposition inin early-  to mid-May.
                                                      early- to  mid-May. Presently,
                                                                              Presently, we’ve  noticed aa modified
                                                                                         we've noticed     modified date
                                                                                                                    date of
                                                                                                                         of performance
                                                                                                                            performance
 of April 28,
 of April  28, but
                but we're
                     we're pleased
                             pleased toto work  through the
                                           work through    the logistical
                                                                logistical issues
                                                                           issues and   modify that
                                                                                   and modify  that date  and/or the
                                                                                                    date and/or  the location
                                                                                                                     location provided
                                                                                                                              provided we
                                                                                                                                       we
 have   President Trump's
 have President      Trump's agreement
                                agreement thatthat he
                                                   he will  testify in
                                                       will testify in accordance
                                                                       accordance with    the Court's
                                                                                     with the Court's order.
                                                                                                      order.
>>
>> Please
   Please let
            let us
                us know
                    know what
                           what dates
                                   dates would
                                           would work
                                                 work and
                                                        and what
                                                              what other
                                                                     other logistical
                                                                            logistical needs you have.
                                                                                       needs you  have.
>>
>> Thanks,
   Thanks,
>> Chris
   Chris

                                                                   10
                                                                   10
                  Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 21 of 31
>
>
> -----Original
>                 Message-----
       Original Message
> From:
>  From: Michael     Madaio
           Michael Madaio
> <mmadaio@habbalaw.com<mailto:mmadaio@habbalaw.com>>
>  <mmadaio@habbalaw.com<mailto:mmadaio@habbalaw.com>>
> Sent:
>  Sent: Wednesday,
          Wednesday, AprilApril 19,
                                  19, 2023    9:34 AM
                                      2023 9:34      AM
> To:
>  To: MacColl,
       MacColl, Christopher
                   Christopher
> <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com>>;
>  <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com>>;
> DWarrington@dhillonlaw.com<mailto:DWarrington@dhillonlaw.com>
>  DWarrington@dhillonlaw.com<mailto:DWarrington@dhillonlaw.com>
> Cc:
>  Cc: Goelman,     Aitan
       Goelman, Aitan
> <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com>>;
>  <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com>>;
> salzman@hellerhuron.com<mailto:salzman@hellerhuron.com>;
>  salzman@hellerhuron.com<mailto:salzman@hellerhuron.com>; Konkel,                   Konkel,
> Kaitlin
>  Kaitlin
> <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.co
>  <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.co
> m>>;
>  m>>; Jeffress,
          Jeffress, Amy
                     Amy
> <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com>>;
>  <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com>>;
> Katerberg,
>  Katerberg, Robert
                 Robert J.J.
> <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporte
>  <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporte
> r.com>>;
>  r.com>>; Alina
              Alina Habba,
                      Habba, Esq.
                                Esq.
> <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com>>
>  <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com>>
> Subject:
>  Subject: RE:   Strzok v.
             RE: Strzok    v. Garland    19-cv-2367 // Page
                              Garland 19-cv-2367          Page v. v. DOJ
                                                                     DOJ 19-cv-3675
                                                                          19-cv-3675 --
> Subpoena
>  Subpoena Served
                Served onon Donald
                              Donald J. J. Trump
                                           Trump
>
>
>
>
> EXTERNAL
>   EXTERNAL
>
>
> Hi
>  Hi Chris,
      Chris,
>
>
> David
>  David Warrington
           Warrington willwill be   stepping in
                               be stepping      in to
                                                   to represent
                                                      represent Mr. Mr. Trump
                                                                        Trump in  in his
                                                                                     his personal
                                                                                         personal capacity
                                                                                                    capacity inin connection
                                                                                                                  connection with    this matter.
                                                                                                                              with this   matter.
I've copied
I've          him on
      copied him    on here
                        here toto connect
                                   connect you you all.
                                                    all.
>
>
> Thanks,
>  Thanks,
>
>
> MICHAEL
>  MICHAEL T.  T. MADAIO,
                  MADAIO, ESQ. ESQ.
> Admitted
>  Admitted to to Practice
                  Practice in in NJ,
                                 NJ, NY
                                      NY & & PA
                                              PA
> 1430
>  1430 USUS Highway
              Highway 206,      Suite 240
                         206, Suite     240
> Bedminster,
>  Bedminster, NewNew Jersey
                         Jersey 07921
                                   07921
> Telephone:
>  Telephone:
> Facsimile:
>  Facsimile: 908-450-1881
                908-450-1881
>
>
> The
>  The information
        information in in this
                           this e-mail
                                 e-mail isis confidential
                                             confidential andand may
                                                                   may be
                                                                        be legally
                                                                            legally privileged.  If you
                                                                                     privileged. If you are    not the
                                                                                                           are not the intended   recipient, you
                                                                                                                       intended recipient,    you
must not
must    not read,
            read, use
                    use or
                        or disseminate
                             disseminate the  the information.     Although this
                                                   information. Although       this e-mail
                                                                                     e-mail and
                                                                                             and any    attachments are
                                                                                                  any attachments      are believed
                                                                                                                           believed toto be free of
                                                                                                                                         be free of
any   virus or
any virus   or other
                other defect     that might
                       defect that     might affect     any computer
                                                affect any                system into
                                                             computer system        into which  it is
                                                                                         which it     received and
                                                                                                   is received   and opened,
                                                                                                                     opened, itit is the
                                                                                                                                  is the
responsibility
responsibility of    the recipient
                  of the  recipient to to ensure     that it
                                           ensure that    it is virus free
                                                             is virus free and
                                                                            and nono responsibility
                                                                                      responsibility is   accepted by
                                                                                                       is accepted      Habba Madaio
                                                                                                                    by Habba   Madaio &   &
Associates    LLP  for any   loss  or  damage     arising  in  any  way
Associates LLP for any loss or damage arising in any way from its use.   from   its use.
>
>
> -----Original
>                 Message-----
       Original Message
> From:
>  From: MacColl,     Christopher
           MacColl, Christopher
> <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com>>
>  <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com>>
> Sent:
>  Sent: Wednesday,
          Wednesday, AprilApril 19,
                                  19, 2023    8:06 AM
                                      2023 8:06      AM
> To:
>  To: Alina
       Alina Habba,
              Habba, Esq.
                       Esq.
> <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com>>
>  <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com>>
> Cc:
>  Cc: Goelman,     Aitan
       Goelman, Aitan

                                                                         11
                                                                         11
                 Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 22 of 31

>> <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com>>;
    <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com>>;
>> salzman@hellerhuron.com<mailto:salzman@hellerhuron.com>;
    salzman@hellerhuron.com<mailto:salzman@hellerhuron.com>; Konkel,             Konkel,
>> Kaitlin
    Kaitlin
>> <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.co
    <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.co
>> m>>;
    m>>; Jeffress,
           Jeffress, Amy
                     Amy
>> <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com>>;
    <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com>>;
>> Katerberg,
    Katerberg, Robert
                  Robert J.
                          J.
>> <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporte
    <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporte
>> r.com>>;
    r.com>>; Michael
               Michael Madaio
                         Madaio
>> <mmadaio@habbalaw.com<mailto:mmadaio@habbalaw.com>>
    <mmadaio@habbalaw.com<mailto:mmadaio@habbalaw.com>>
>> Subject:
    Subject: Re:
              Re: Strzok
                   Strzok v.
                           v. Garland
                               Garland 19-cv-2367
                                        19-cv-2367 // Page
                                                         Page v.
                                                               v. DOJ
                                                                  DOJ 19-cv-3675
                                                                      19-cv-3675 --
>> Subpoena
    Subpoena Served
                 Served on
                         on Donald
                               Donald J.
                                       J. Trump
                                          Trump
>>
>> Hi
    Hi Alina,
       Alina,
>>
>> Any
    Any update?
         update?
>>
>> Thanks,
    Thanks,
>> Chris
    Chris
>>
>> On   Apr 14,
    On Apr   14, 2023,   at 9:11
                  2023, at   9:11 PM,
                                    PM, Alina
                                        Alina Habba,
                                               Habba, Esq.
                                                         Esq. <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com>>
                                                              <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com>> wrote:             wrote:
>>
>>
>> EXTERNAL
    EXTERNAL
>>
>> Hi
    Hi Chris-
       Chris-
>>
>> II am  getting counsel
      am getting   counsel lined
                              lined up
                                     up on  this. Will
                                        on this.        have an
                                                   Will have  an update  Monday.
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>> Alina
    Alina Habba,
           Habba, Esq.
                    Esq.
>>
>> Admitted
    Admitted to to Practice
                   Practice in in NJ,
                                  NJ, NY
                                      NY && CT
                                             CT
>>
>> HABBA
    HABBA MADAIO
             MADAIO &   & ASSOCIATES
                           ASSOCIATES LLP  LLP
>>
>>
>> 1430
    1430 USUS Highway
               Highway 206,      Suite 240
                         206, Suite    240
>>
>> Bedminster,
    Bedminster, NewNew Jersey
                         Jersey 07921
                                   07921
>>
>> Telephone:
    Telephone:
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>> Facsimile:
    Facsimile: 908-450-1881
                 908-450-1881
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>> The
    The information
         information inin this
                           this e-mail
                                 e-mail is
                                         is confidential   and may
                                            confidential and    may be
                                                                    be legally
                                                                        legally privileged. If you
                                                                                privileged. If you are  not the
                                                                                                    are not the intended   recipient, you
                                                                                                                intended recipient,    you
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must     not read,
             read, use
                    use or
                         or disseminate
                             disseminate the the information.   Although this
                                                  information. Although    this e-mail
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 any virus   or other
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                       defect thatthat might
                                       might affect   any computer
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                  Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 23 of 31
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 Associates   LLP  for any   loss or  damage     arising in  any  way
Associates LLP for any loss or damage arising in any way from its use. from   its  use.
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>> ________________________________
>> From:
   From: MacColl,     Christopher
           MacColl, Christopher
>> <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com>>
   <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com>>
>> Sent:
   Sent: Friday,
          Friday, April
                  April 14,
                         14, 2023    9:10:38 PM
                               2023 9:10:38     PM
>> To:
   To: Alina
       Alina Habba,
              Habba, Esq.
                       Esq.
>> <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com>>
   <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com>>
>> Cc:
   Cc: Goelman,     Aitan
       Goelman, Aitan
>> <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com>>;
   <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com>>;
>> salzman@hellerhuron.com<mailto:salzman@hellerhuron.com>
   salzman@hellerhuron.com<mailto:salzman@hellerhuron.com>
>> <salzman@hellerhuron.com<mailto:salzman@hellerhuron.com>>;
   <salzman@hellerhuron.com<mailto:salzman@hellerhuron.com>>; Konkel,                   Konkel,
>> Kaitlin
   Kaitlin
>> <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.co
   <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.co
>> m>>;
   m>>; Jeffress,
         Jeffress, Amy
                    Amy
>> <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com>>;
   <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com>>;
>> Katerberg,
   Katerberg, Robert
                Robert J.J.
>> <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporte
   <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporte
>> r.com>>;
   r.com>>; Michael
              Michael Madaio
                         Madaio
>> <mmadaio@habbalaw.com<mailto:mmadaio@habbalaw.com>>
   <mmadaio@habbalaw.com<mailto:mmadaio@habbalaw.com>>
>> Subject:
   Subject: Re:
             Re: Strzok
                 Strzok v. v. Garland
                              Garland 19-cv-2367
                                        19-cv-2367 // Page
                                                         Page v.v. DOJ
                                                                   DOJ 19-cv-3675
                                                                        19-cv-3675 --
>> Subpoena
   Subpoena Served
               Served on on Donald
                              Donald J.J. Trump
                                          Trump
>>
>> Hi
   Hi Alina,
      Alina,
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>> Know
   Know you
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               all are
                   are busy,
                       busy, but    I’m following
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 assumption    that  we  would    conduct     this deposition    in New   York.   If we  agree  to do  it elsewhere,
 assumption that we would conduct this deposition in New York. If we agree to do it elsewhere, we would expect to     we would expect to
 modify the
modify    the amount
              amount accordingly.
                         accordingly.
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>> Chris
   Chris
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>> [image0.jpeg][image1.jpeg]
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>> On  Apr 11,
   On Apr   11, 2023,
                2023, atat 11:26
                            11:26 AM,
                                   AM, MacColl,
                                          MacColl, Christopher
                                                     Christopher
 <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com>> wrote:
<CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com>>                               wrote:
>>
>>
>> Hi
   Hi Alina,
      Alina,
>>
>> Just
   Just following
        following up    again on
                    up again       the below.
                                on the             Please let
                                         below. Please      let us
                                                                us know
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                                                                                          dates that  would work
                                                                                                               work on your end.
                                                                                                                    on your end.
>>
>> Thanks,
   Thanks,
>> Chris
   Chris
>>
>> From:
   From: MacColl,     Christopher
           MacColl, Christopher
>> <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com>>
   <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com>>
>> Sent:
   Sent: Friday,
          Friday, April
                  April 7,
                         7, 2023   1:24 PM
                             2023 1:24     PM
>> To:
   To: Alina
       Alina Habba,
              Habba, Esq.
                       Esq.
>> <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com>>
   <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com>>

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                 Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 24 of 31

>> Cc:
   Cc: Goelman,     Aitan
       Goelman, Aitan
>> <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com>>;
   <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com>>;
>> salzman@hellerhuron.com<mailto:salzman@hellerhuron.com>;
   salzman@hellerhuron.com<mailto:salzman@hellerhuron.com>; Konkel,             Konkel,
>> Kaitlin
   Kaitlin
>> <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.co
   <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.co
>> m>>;
   m>>; Jeffress,
         Jeffress, Amy
                    Amy
>> <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com>>;
   <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com>>;
>> Katerberg,
   Katerberg, Robert
                Robert J.J.
>> <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporte
   <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporte
>> r.com>>;
   r.com>>; Michael
              Michael Madaio
                         Madaio
>> <mmadaio@habbalaw.com<mailto:mmadaio@habbalaw.com>>
   <mmadaio@habbalaw.com<mailto:mmadaio@habbalaw.com>>
>> Subject:
   Subject: Re:
             Re: Strzok
                  Strzok v.
                          v. Garland
                              Garland 19-cv-2367
                                       19-cv-2367 // Page
                                                       Page v.v. DOJ
                                                                 DOJ 19-cv-3675
                                                                      19-cv-3675 --
>> Subpoena
   Subpoena Served
               Served on on Donald
                             Donald J.J. Trump
                                         Trump
>>
>> Hi
   Hi Alina,
      Alina,
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>> Just
   Just following
        following up    to see
                    up to   see if
                                if you've
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>>
>> Thanks,
   Thanks,
>> Chris
   Chris
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>>
>> On  Apr 5,
   On Apr   5, 2023,  at 9:32
               2023, at   9:32 AM,
                                AM, MacColl,
                                      MacColl, Christopher
                                                 Christopher
 <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com%3cmailto:CMacColl
<CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com%3cmailto:CMacColl
 @zuckerman.com>>>
 @zuckerman.com>>> wrote:    wrote:
>>
>> Hi
   Hi Alina,
      Alina,
>>
>> Attached
   Attached are    the two
              are the   two notices
                              notices we    filed regarding
                                       we filed   regarding likely
                                                             likely deposition   topics. After
                                                                    deposition topics.    After Judge
                                                                                                Judge Jackson
                                                                                                       Jackson issued
                                                                                                                 issued aa ruling
                                                                                                                           ruling permitting
                                                                                                                                  permitting
the deposition to go forward with the 2 hour limit, she instructed the government to solicit President Biden's position on
 the  deposition   to go  forward   with   the  2 hour  limit, she instructed  the  government    to  solicit President  Biden’s  position on
 executive
 executive privilege.     DOJ filed
             privilege. DOJ    filed docket
                                     docket entry    108, which
                                               entry 108,  which states   that “The
                                                                   states that       Executive Office
                                                                               "The Executive    Office of  the President
                                                                                                        of the   President will  not assert
                                                                                                                            will not assert
 the Presidential
the   Presidential Communications
                    Communications Privilege,
                                          Privilege, and
                                                      and Defendants
                                                           Defendants will    not assert
                                                                         will not         the Deliberative
                                                                                  assert the  Deliberative Process
                                                                                                              Process Privilege."
                                                                                                                      Privilege.”
>>
>> Appreciate
   Appreciate your
                your taking
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                                                       agreeing toto get
                                                                     get back  to us
                                                                         back to  us in
                                                                                     in aa day
                                                                                           day or so.
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>>
>> Chris
   Chris
>>
>> From:
   From: MacColl,     Christopher
           MacColl, Christopher
>> <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com<mailto:CMacColl@
   <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com<mailto:CMacColl@
>> zuckerman.com%3cmailto:CMacColl@zuckerman.com>>>
   zuckerman.com%3cmailto:CMacColl@zuckerman.com>>>
>> Sent:
   Sent: Tuesday,
          Tuesday, April
                     April 4,
                            4, 2023
                               2023 7:39    PM
                                      7:39 PM
>> To:
   To: Alina
       Alina Habba,
              Habba, Esq.
                       Esq.
>> <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com<mailto:ahabba@habbalaw
   <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com<mailto:ahabba@habbalaw
>> .com%3cmailto:ahabba@habbalaw.com>>>
   .com%3cmailto:ahabba@habbalaw.com>>>
>> Cc:
   Cc: Goelman,     Aitan
       Goelman, Aitan
>> <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com<mailto:AGoelman@
   <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com<mailto:AGoelman@
>> zuckerman.com%3cmailto:AGoelman@zuckerman.com>>>;
   zuckerman.com%3cmailto:AGoelman@zuckerman.com>>>;
>> salzman@hellerhuron.com<mailto:salzman@hellerhuron.com<mailto:salzman@
   salzman@hellerhuron.com<mailto:salzman@hellerhuron.com<mailto:salzman@
>> hellerhuron.com%3cmailto:salzman@hellerhuron.com>>;
   hellerhuron.com%3cmailto:salzman@hellerhuron.com>>; Konkel,           Konkel, Kaitlin
                                                                                  Kaitlin
>> <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.co
   <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.co
>> m<mailto:Kaitlin.Konkel@arnoldporter.com%3cmailto:Kaitlin.Konkel@arnol
   m<mailto:Kaitlin.Konkel@arnoldporter.com%3cmailto:Kaitlin.Konkel@arnol
>> dporter.com>>>;      Jeffress, Amy
   dporter.com>>>; Jeffress,       Amy

                                                                     14
                                                                     14
                   Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 25 of 31

>> <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com<ma
    <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com<ma
>> ilto:Amy.Jeffress@arnoldporter.com%3cmailto:Amy.Jeffress@arnoldporter.
    ilto:Amy.Jeffress@arnoldporter.com%3cmailto:Amy.Jeffress@arnoldporter.
>> com>>>;
    com>>>; Katerberg,         Robert J.
               Katerberg, Robert         J.
>> <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporte
    <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporte
>> r.com<mailto:Robert.Katerberg@arnoldporter.com%3cmailto:Robert.Katerbe
    r.com<mailto:Robert.Katerberg@arnoldporter.com%3cmailto:Robert.Katerbe
>> rg@arnoldporter.com>>>;
    rg@arnoldporter.com>>>; Michael     Michael Madaio
                                                    Madaio
>> <mmadaio@habbalaw.com<mailto:mmadaio@habbalaw.com<mailto:mmadaio@habba
    <mmadaio@habbalaw.com<mailto:mmadaio@habbalaw.com<mailto:mmadaio@habba
>> law.com%3cmailto:mmadaio@habbalaw.com>>>
    law.com%3cmailto:mmadaio@habbalaw.com>>>
>> Subject:
    Subject: Re:
              Re: Strzok
                     Strzok v.v. Garland
                                 Garland 19-cv-2367
                                            19-cv-2367 // PagePage v. v. DOJ
                                                                         DOJ 19-cv-3675
                                                                               19-cv-3675 --
>> Subpoena
    Subpoena Served
                  Served on on Donald
                                 Donald J. J. Trump
                                              Trump
>>
>> 99 works.   I’ll send
       works. I'll  send an    invite with
                           an invite   with aa dial    in later
                                                 dial in  later this
                                                                 this evening.
                                                                       evening.
>>
>> Chris
    Chris
>>
>>
>>
>> On   Apr 4,
    On Apr   4, 2023,
                 2023, atat 6:10    PM, Alina
                             6:10 PM,     Alina Habba,
                                                  Habba, Esq.
                                                            Esq.
 <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com<mailto:ahabba@habbalaw.com%3cmailto:ahabba@habbala
<ahabba@habbalaw.com<mailto:ahabba@habbalaw.com<mailto:ahabba@habbalaw.com%3cmailto:ahabba@habbala
 w.com>>>
 w.com>>> wrote:
               wrote:
>>
>> EXTERNAL
    EXTERNAL
>> Good
    Good afternoon
           afternoon Chris,
                          Chris,
>>
>> Are
    Are you
         you available
              available forfor aa call
                                   call at  9am?
                                        at 9am?
>>
>>
>> Alina
    Alina Habba,
           Habba, Esq.Esq.
>>
>> Admitted
    Admitted to  to Practice
                     Practice in in NJ,
                                    NJ, NY
                                        NY &  & CT
                                                 CT
>>
>> HABBA
    HABBA MADAIO
             MADAIO &     & ASSOCIATES
                              ASSOCIATES LLP   LLP
>>
>>
>>
>> 1430
    1430 USUS Highway
              Highway 206,         Suite 240
                            206, Suite     240
>>
>> Bedminster,
    Bedminster, New  New Jersey
                           Jersey 07921
                                     07921
>>
>> Telephone:
    Telephone:
>>
>> Facsimile:
    Facsimile: 908-450-1881
                  908-450-1881
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>> The
    The information
         information in   in this
                              this e-mail
                                   e-mail is is confidential
                                                confidential and and may
                                                                       may bebe legally
                                                                                 legally privileged.  If you
                                                                                          privileged. If you are    not the
                                                                                                                are not the intended   recipient, you
                                                                                                                            intended recipient,    you
 must not
must     not read,
             read, use use or
                           or disseminate
                               disseminate the   the information.       Although this
                                                      information. Although         this e-mail
                                                                                          e-mail and
                                                                                                  and any    attachments are
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                                                                                                                                believed toto be free of
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 any   virus or
 any virus   or other
                  other defect      that might
                          defect that     might affect     any computer
                                                   affect any                  system into
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                                                                                              which it     received and
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                                                                                                            is accepted      Habba Madaio
                                                                                                                         by Habba   Madaio &  &
 Associates LLP
Associates     LLP forfor any
                          any loss
                                loss or
                                      or damage      arising in
                                         damage arising        in any
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                                                                                         use.
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                  Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 26 of 31

>>
>> ________________________________
>> From:
    From: MacColl,     Christopher
            MacColl, Christopher
>> <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com<mailto:CMacColl@
    <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com<mailto:CMacColl@
>> zuckerman.com%3cmailto:CMacColl@zuckerman.com>>>
    zuckerman.com%3cmailto:CMacColl@zuckerman.com>>>
>> Sent:
    Sent: Tuesday,
           Tuesday, April
                      April 4,
                             4, 2023
                                2023 6:03:19
                                     6:03:19 PMPM
>> To:
    To: Alina
         Alina Habba,
                Habba, Esq.
                        Esq.
>> <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com<mailto:ahabba@habbalaw
    <ahabba@habbalaw.com<mailto:ahabba@habbalaw.com<mailto:ahabba@habbalaw
>> .com%3cmailto:ahabba@habbalaw.com>>>
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>> Cc:
    Cc: Goelman,     Aitan
         Goelman, Aitan
>> <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com<mailto:AGoelman@
    <AGoelman@zuckerman.com<mailto:AGoelman@zuckerman.com<mailto:AGoelman@
>> zuckerman.com%3cmailto:AGoelman@zuckerman.com>>>;
    zuckerman.com%3cmailto:AGoelman@zuckerman.com>>>;
>> salzman@hellerhuron.com<mailto:salzman@hellerhuron.com<mailto:salzman@
    salzman@hellerhuron.com<mailto:salzman@hellerhuron.com<mailto:salzman@
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    hellerhuron.com%3cmailto:salzman@hellerhuron.com>>
>> <salzman@hellerhuron.com<mailto:salzman@hellerhuron.com<mailto:salzman
    <salzman@hellerhuron.com<mailto:salzman@hellerhuron.com<mailto:salzman
>> @hellerhuron.com%3cmailto:salzman@hellerhuron.com>>>;
    @hellerhuron.com%3cmailto:salzman@hellerhuron.com>>>; Konkel,               Konkel, Kaitlin
                                                                                        Kaitlin
>> <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.co
    <Kaitlin.Konkel@arnoldporter.com<mailto:Kaitlin.Konkel@arnoldporter.co
>> m<mailto:Kaitlin.Konkel@arnoldporter.com%3cmailto:Kaitlin.Konkel@arnol
    m<mailto:Kaitlin.Konkel@arnoldporter.com%3cmailto:Kaitlin.Konkel@arnol
>> dporter.com>>>;       Jeffress, Amy
    dporter.com>>>; Jeffress,      Amy
>> <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com<ma
    <Amy.Jeffress@arnoldporter.com<mailto:Amy.Jeffress@arnoldporter.com<ma
>> ilto:Amy.Jeffress@arnoldporter.com%3cmailto:Amy.Jeffress@arnoldporter.
    ilto:Amy.Jeffress@arnoldporter.com%3cmailto:Amy.Jeffress@arnoldporter.
>> com>>>;
    com>>>; Katerberg,       Robert J.
                Katerberg, Robert   J.
>> <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporte
    <Robert.Katerberg@arnoldporter.com<mailto:Robert.Katerberg@arnoldporte
>> r.com<mailto:Robert.Katerberg@arnoldporter.com%3cmailto:Robert.Katerbe
    r.com<mailto:Robert.Katerberg@arnoldporter.com%3cmailto:Robert.Katerbe
>> rg@arnoldporter.com>>>
    rg@arnoldporter.com>>>
>> Subject:
    Subject: Re:
               Re: Strzok
                   Strzok v.
                           v. Garland
                              Garland 19-cv-2367
                                        19-cv-2367 // Page
                                                       Page v.v. DOJ
                                                                  DOJ 19-cv-3675
                                                                       19-cv-3675 --
>> Subpoena
    Subpoena Served
                 Served onon Donald
                              Donald J.
                                      J. Trump
                                         Trump
>>
>> Ms.
    Ms. Habba,
          Habba,
>>
>> Just
    Just following
          following up
                     up on   the below.
                         on the           Please confirm
                                 below. Please    confirm receipt,
                                                            receipt, and
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                                                                                 us know
                                                                                    know ifif the
                                                                                              the 28th
                                                                                                  28th will
                                                                                                       will work.   Happy to
                                                                                                            work. Happy     to discuss
                                                                                                                               discuss other
                                                                                                                                        other
 logistics
 logistics at   your convenience.
            at your  convenience.
>>
>> Chris
    Chris
>>
>> On    Mar 31,
    On Mar     31, 2023,
                   2023, at
                          at 3:47 PM, MacColl,
                             3:47 PM,   MacColl, Christopher
                                                   Christopher
 <CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com%3cmailto:CMacColl
<CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com%3cmailto:CMacColl
 @zuckerman.com>>>
 @zuckerman.com>>> wrote:    wrote:
>>
>>
>> Ms.
    Ms. Habba,
          Habba,
>>
>> II understand    that you
      understand that     you represent
                               represent President
                                           President Trump
                                                       Trump in in connection
                                                                   connection with     the subpoena
                                                                                  with the   subpoena that
                                                                                                        that II served
                                                                                                                served on  him through
                                                                                                                        on him  through
 attorney     Larry Rosen   in November
 attorney Larry Rosen in November 2021.     2021.
>>
>> As
    As I'm
        I’m sure
            sure you
                  you know,    the Department
                       know, the   Department of      Justice filed
                                                   of Justice  filed aa motion
                                                                        motion to to quash   the subpoena
                                                                                     quash the   subpoena in    the Southern
                                                                                                             in the Southern District
                                                                                                                               District of New
                                                                                                                                        of New
 York. The
York.     The matter
               matter was    transferred to
                       was transferred     to the
                                              the District
                                                  District for
                                                            for the
                                                                 the District
                                                                      District of
                                                                                of Columbia
                                                                                   Columbia with    the consent
                                                                                               with the consent of    President Trump
                                                                                                                   of President  Trump per
                                                                                                                                         per
 Rule 45(f).
Rule            Judge Amy
        45(f). Judge   Amy Berman
                              Berman Jackson
                                       Jackson ruled
                                                ruled that
                                                        that aa deposition
                                                                deposition limited     to two
                                                                              limited to  two hours
                                                                                                hours and
                                                                                                       and certain   topics would
                                                                                                            certain topics  would bebe allowed,
                                                                                                                                       allowed,
 and
 and both     President Biden
       both President     Biden and  President Trump
                                 and President    Trump informed
                                                          informed the  the Court
                                                                            Court that
                                                                                    that they
                                                                                         they would
                                                                                                would not
                                                                                                       not assert
                                                                                                            assert executive
                                                                                                                   executive privilege.
                                                                                                                               privilege.
>>



                                                                      16
                   Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 27 of 31
> We
>  We are are pleased
               pleased to to discuss  logistics with
                              discuss logistics          you. We
                                                   with you.   We are,   however, noticing
                                                                   are, however,      noticing aa modified
                                                                                                   modified date    of April
                                                                                                              date of   April 28,
                                                                                                                               28, 2023
                                                                                                                                    2023 in in light
                                                                                                                                               light of
                                                                                                                                                     of the
                                                                                                                                                        the
need     to  maintain     a deadline.   This   is in part  because   the  Department       of Justice  has suggested
need to maintain a deadline. This is in part because the Department of Justice has suggested that it may file a          that  it may   file a
mandamus
mandamus petition.
                 petition.
>
>
> II note
>    note that
             that II conveyed
                     conveyed to  to Mr.
                                     Mr. Rosen
                                         Rosen aa check      for the
                                                      check for  the witness    fee and
                                                                      witness fee          mileage, but
                                                                                     and mileage,     but my  records indicate
                                                                                                           my records                that it
                                                                                                                          indicate that    it went
                                                                                                                                              went
uncashed
 uncashed and  and has
                     has become
                           become void
                                     void due
                                           due to to the
                                                     the passage
                                                          passage of   time. We
                                                                    of time.        are pleased
                                                                               We are     pleased toto reissue
                                                                                                       reissue it.
                                                                                                               it.
>
>
> Please
>  Please confirm        receipt and
              confirm receipt      and let
                                       let us
                                           us know      President Trump's
                                                know President     Trump’s preferences
                                                                               preferences for for logistics. My cell
                                                                                                   logistics. My   cell is
                                                                                                                        is below
                                                                                                                            below ifif you
                                                                                                                                       you would
                                                                                                                                             would like
                                                                                                                                                     like
to discuss
to   discuss by by phone.
                    phone.
>
>
> Kind
>  Kind Regards,
           Regards,
> Chris
>  Chris
>
>
>
>
> <http://www.zuckerman.com/>
>  <http://www.zuckerman.com/>
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>
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> <http://www.zuckerman.com/>
>  <http://www.zuckerman.com/>
>
>
> Christopher
>  Christopher MacColl
                     MacColl
> Zuckerman
>  Zuckerman SpaederSpaeder LLP LLP
> CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com<mailto:CMacColl@z
>  CMacColl@zuckerman.com<mailto:CMacColl@zuckerman.com<mailto:CMacColl@z
> uckerman.com%3cmailto:CMacColl@zuckerman.com<mailto:CMacColl@zuckerman
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>  .com%3cmailto:CMacColl@zuckerman.com%3cmailto:CMacColl@zuckerman.com%3
> cmailto:CMacColl@zuckerman.com>>>
>  cmailto:CMacColl@zuckerman.com>>>
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> 1800
>  1800 M   M STREET
               STREET NW, NW, SUITE
                                 SUITE 1000
                                       1000 •• WASHINGTON,
                                                   WASHINGTON, DC     DC 20036-5807
                                                                           20036-5807
> 202.778.1849
>  202.778.1849 direct  direct ••                    mobile
                                                     mobile • • 202.822.8106
                                                                202.822.8106 fax  fax
>
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                       vCard<https://www.zuckerman.com/vcard/Christopher_MacColl/>
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      zuckerman.com<http://www.zuckerman.com>
>>
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>> <2023-03-24
   <2023-03-24 [Doc          108] Govt
                      [Doc 108]    Govt -- Notice
                                           Notice re     Executive Privilege.PDF>
                                                     re Executive   Privilege.PDF>
>> <2022-09-29
   <2022-09-29 [Doc          089] Strzok
                      [Doc 089]    Strzok -- Redacted
                                             Redacted Notice
                                                           Notice of
                                                                   of Filing
                                                                      Filing of
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>> Deposition
   Deposition Transcript.PDF>
                    Transcript.PDF>
>> <2023-02-03
   <2023-02-03 [Doc          105] Strzok
                      [Doc 105]    Strzok -- Notice
                                             Notice of     Additional Inquiry
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>> Depositions
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                                                  Quash.PDF>




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                  EXHIBIT C
                  EXHIBIT C
          Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 29 of 31

                                  WILLIAMS                        MULLEN

Direct Dial:
cjames@williamsmullen.com

                                                       April 12, 2023


   BY EMAIL AND FIRST CLASS MAIL

   Christopher R. MacColl, Esquire
   Zuckerman Spaeder LLP
   1800 M Street NW, Suite 1000
   Washington, DC 20036

           Re:       Peter P. Strzok v. Merrick Garland, etc, et al.
                     Case No. 1:19-CV-02367-ABJ

   Dear Mr. MacColl:

           In response to Plaintiff's Third Party Subpoena Duces Tecum issued on February 10,
   2023 in the captioned case, enclosed are the responsive documents of John F. Kelly bates
   labelled Kelly_SDT_0001 to Kelly_SDT_0002. In case Gen. Kelly's handwriting is hard to
   decipher, below are transcriptions of the documents. Also, the post-it notes were not on the
   originals. They were added for clarification.

                    1st page (Kelly_SDT_0001)
                    Potus, Rand Paul +2
                    Security clearances
                       * add Page, McCabe, Stroch (sic)
                    Post-it Note: 23 July 2018 (Kelly)

                    2nd page (Kelly_SDT_0002)
                    Potus, AG, Don McGahn

                      - Deep state issues
                      - Investigations
                      - Firing love birds
                              McCabe?
                      - Trust?
                    Post-it Note: 21 Feb 2018 (Kelly)

           Please do not hesitate to contact me if you have any questions. Thank you.

                                                                     Sincerely,



                                                                    Charles E. James, Jr.

   CEJjr/dad
   Enclosure

   102488703_1


        Williams Mullen Center I 200 South 10th Street, Suite 1600 Richmond, VA 23219 I P.O. Box 1320 Richmond, VA 23218
                         T 804.420.6000 F 804.420.6507 I williamsmullen.com I A Professional Corporation
Case 1:19-cv-02367-ABJ Document 111-1 Filed 05/15/23 Page 30 of 31
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